UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 FUBOTV INC., et al.,
                                 Plaintiffs,

                         -against-                                24-CV-01363 (MMG)

 THE WALT DISNEY COMPANY, et al.,                                 OPINION & ORDER

                                 Defendants.



MARGARET M. GARNETT, United States District Judge:

                                         INTRODUCTION

       In February 2024, Defendants The Walt Disney Company (“Disney”), Fox Corporation

(“Fox”), and Warner Brothers Discovery, Inc. (“WBD”) (collectively, the “JV Defendants”)

announced the formation of a joint venture (the “JV”) to create a new television streaming

service centered on live sports content. The JV was known internally among the partners as

“Raptor” or “Project Raptor” and later branded externally as “Venu Sports” or “Venu.” Shortly

after the public announcement of the JV, Plaintiffs fuboTV Inc. and fuboTV Media Inc.

(together, “Fubo”) filed this litigation, raising several antitrust claims related to the launch of the

JV and the Defendants’ business practices regarding the licensing of live sports. On April 8,

2024, Fubo filed a Motion for Preliminary Injunction (the “Motion”) to temporarily block the JV

from launching, or alternatively, to enjoin the JV Defendants from enforcing certain contractual

restraints in their licensing agreements which, Fubo claims, preclude the existence of any

meaningful rival to the JV. See Dkt. Nos. 94, 95 (“Mot.”). Following a period of intense but

expedited discovery, the Court held a five-day evidentiary hearing from August 6–12, 2024.

       Although the JV itself is new, the idea of a live-sports-only streaming service is not.

Even as the television industry has changed dramatically over the last decade, the ability to

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broadcast live sports has remained a crucial and irreplaceable source of revenue and power. Live

sporting event broadcasts continue to attract massive viewership, despite steady declines in

audiences for non-sports-related television content and increasing departures from the multi-

channel pay TV ecosystem (whether as “cord-cutters” or “cord-nevers”).

       In 2015, in recognition of the stable and growing demand for live sports content, Fubo

launched as a relatively specialized streaming service, initially focused on soccer fans but with

aspirations to grow into a broader “sports-forward” multi-channel streaming service. To provide

television content to its customers, Fubo, like any other distributor, enters into “carriage

agreements” with television networks for the rights to license and distribute those networks’

programming. When it comes to live sports programming, the JV Defendants dominate.

Together, they own over 60% of the telecast rights to nationally broadcast live sports, and an

even larger share of the most-watched sports like football and basketball and the most-watched

events like playoff or championship games. Fubo, like all other TV distributors, must therefore

contract with one or more of the JV Defendants if they want to offer customers even the most

basic array of live sports content.

       But Fubo claims that its original goal of providing a streaming service focused on live

sports has been hampered or thwarted by restrictive terms in the contracts with the television

programming networks, including the JV Defendants. Among these complaints is the claim that

the contracts force Fubo to carry (and pay for) unwanted non-sports networks that its customers

rarely watch, as a condition of securing the rights to carry must-have sports channels. In the pay

TV industry, this practice is called “bundling.” These bundling requirements are not unique to

Fubo’s contracts with the JV Defendants; bundling has been a pervasive industry practice for

decades, and other much larger TV distributors like Comcast, Charter, DIRECTV, and DISH



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likewise face similar restrictions. Due to these bundling practices, Fubo says it has effectively

been morphed into the opposite of its original vision: a “bloated” bundle of channels, not unlike

every other multi-channel TV distributor, with little choice but to charge steep prices to its

customers just to stay afloat and cover its licensing costs. After the JV was announced as

offering consumers the first “unbundled” sports-focused multi-channel streaming service that

Fubo (and others in the market) had long strived to be, Fubo initiated this antitrust action and

moved for an injunction to temporarily block its launch.

       To get a preliminary injunction, one of the most powerful tools in the arsenal of judicial

remedies, Fubo must show that it is likely to succeed on the merits of its claims, that it will suffer

imminent irreparable harm in the absence of an injunction, that the balance of equities tip in its

favor, and that the injunction does not harm the public interest. In their defense, the JV

Defendants say any purported harm to Fubo from the JV is either the result of factors

independent of the JV, derives from legitimate competition at work, or can be remedied by

money damages later. While it’s undisputed that Fubo has never once had a profitable quarter (a

common phenomenon for startups in the first decade of their existence), both its internal

projections and those by some third-party market analysts predict it is set to at least break even in

2025 (what Fubo calls the “path to profitability”). But if the JV launches, witness testimony and

documentary evidence firmly establish that a swift exodus of large numbers of Fubo’s

subscribers (both current and reasonably anticipated near-term future subscribers) is likely, and

that Fubo’s bankruptcy and delisting of the company’s stock will likely soon follow. These are

quintessential harms that money cannot adequately repair.

       As to the merits of Fubo’s antitrust claims, the JV Defendants argue that the JV is pro-

competitive, not anti-competitive. They say the JV will not concentrate market power or restrain



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trade because the JV Defendants will continue to independently license their respective networks

to other distributors and the JV will have extensive firewalls in place to protect sensitive

commercial information being shared between the JV Defendants. These protections, they

claim, will ensure against any potential concentration or collusion in the relevant markets. And

while their witnesses admit that the terms on which the JV is set to receive the JV Defendants’

programming content is unlike any the JV Defendants have ever provided another distributor,

they argue that such innovation does not imply the creation of a new market over which the JV

will dominate and that, in any event, they are entitled to sell their valuable products to different

buyers on any lawful terms they choose. They also claim that Fubo’s complaints of “forced

bundling” are false and, even if they were true, are perfectly legal and legitimate business

practices. The Court need not, and does not, reach the question of the legality of bundling at this

stage of the case. The credible testimony reinforced by voluminous documentary evidence in the

record that firmly establishes the JV Defendants’ longstanding and unbroken practice of

bundling sports with non-sports content is sufficient.

       Put simply, the antitrust problem presented by the JV is as follows: if the JV is allowed to

launch, it will be the only option on the market for those television consumers who want to spend

their money on multiple live sports channels they love to watch, but not on superfluous

entertainment channels they do not. And the JV’s corporate owners—the JV Defendants—are

the same players that (1) used their longstanding bundling practices to create the void in the pay

TV market tailor-made for the live-sports-only JV to fill, and also (2) exercise near-monopolistic

control over the ability for a different live-sports-only streaming service to exist and compete

with the JV. Indeed, shortly before the JV was announced, the JV Defendants explicitly agreed

to “stay clear” of supporting another platform like the JV for at least the next three years.



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Irrespective of any agreement between them, though, once the JV launches, the JV Defendants

have no reason to take actions that could allow for the emergence of direct competitors. Quite

the opposite: the multi-year monopolistic runway they have created for themselves will provide

powerful incentives to thwart competition and hike prices on both consumers and other

distributors. But even if the JV Defendants swear that such price-hiking and competition-

excluding will not actually occur (though, as discussed below, there is good reason to believe

that it will), one purpose of antitrust injunctions is to prevent anticompetitive incentives from

forming in the first place so that American consumers do not have to simply take their word for it

and hope for the best.

        The Court has carefully considered all of the briefing, testimony, evidence, and argument

offered in support of and in opposition to the Motion. Because Fubo is likely to be successful in

proving its claims that the JV will violate this country’s antitrust laws, because Fubo and

American consumers will face irreparable harm in the absence of an injunction, and because the

equities and the public interest weigh in favor of preserving the status quo pending full and fair

adjudication of all issues in this matter, the Motion is HEREBY GRANTED.

                                            BACKGROUND

I.      FACTUAL BACKGROUND1

        A. The Parties

        Plaintiffs fuboTV Inc., a Florida corporation, and fuboTV Media Inc., a Delaware

corporation, together operate as Fubo. Founded in 2015, Fubo is a multi-channel television


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          Except as otherwise noted, the factual background described herein derives from the facts as set
forth by the parties in the briefs, declarations, exhibits, and witness testimony provided in support of or in
opposition to the Motion. Fubo offered declarations from Thomas Schultz, Jonathan Orszag, James
Trautman, David Gandler, John Janedis, Alberto Horihuela, Todd Mathers, Gary Schanman, and Robert
Thun in support of the Motion (see Dkt. Nos. 97–105, 108, 109, 111, 112, 160-1, 161-1, 248-27, 248-136,
248-137). On opposition, the JV Defendants submitted declarations from J. Wesley Earnhardt, Edwin S.
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streaming service with a focus on live sports content operating in the United States, Canada, and

Spain.

         Defendants in this matter are Disney, ESPN, Inc. and ESPN Enterprises, Inc. (together,

“ESPN”),2 Hulu, LLC (“Hulu,” and collectively with Disney and ESPN, the “Disney

Defendants”),3 Fox, and WBD.

         Disney, a Delaware corporation headquartered in Burbank, California, is a multinational

media and entertainment conglomerate with assets and affiliates including film and television

studios, programming networks, local television stations, streaming platforms, and entertainment

parks and travel experiences. Disney’s sports programming is concentrated within ESPN, which

operates multiple pay TV networks including ESPN, ESPN2, SEC Network, ACC Network, and

ABC Sports, among others. Disney and ESPN own broadcast rights to live sporting events from

the National Football League (“NFL”), National Basketball Association (“NBA”), Major League

Baseball (“MLB”), National Hockey League (“NHL”), college football and basketball, and

professional tennis and golf.


Desser, Michael D. Whinston, Ph.D., and Anthony Petitti (see Dkt. Nos. 234, 236, 234-151, 236-133,
234-152, 236-134, 234-153, 236-135). The Preliminary Injunction Hearing (the “Hearing”), held from
August 6 to August 12, 2024, included live testimony from 18 witnesses: James Trautman, David
Gandler, Todd Mathers, Benjamin Grad, Sal Marchesano, Gary Schanman, John Nallen, James Pitaro,
Alberto Horihuela, John Janedis, Jonathan Orszag, Edwin Desser, David Espinoza, Bruce Campbell,
Justin Connolly, Scott Miller, Anthony Petitti, and Michael D. Whinston. See generally Transcript of the
Preliminary Injunction Hearing (hereinafter “Hearing Tr.”). At the Hearing, numerous exhibits and
demonstratives were also admitted into evidence, which are referenced herein by the exhibit number
provided on the record. Prior to the Hearing, the parties also submitted testimony in the form of
deposition designations from seven additional witnesses: Ameet Padte, Paul Cheesbrough, Peter Distad,
Dan Fox, Robert Iger, Justin Lancer, and Justin Warbrooke. See Dkt. No. 250, Ex. B. No further
individualized citations to these documents will be made herein except as specifically quoted or
referenced.
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           ESPN is a Disney subsidiary. While ESPN is a Defendant in the broader action, it is not a party
to the JV and is therefore not a subject of the Motion. As described further herein, though, ESPN’s
programming is included in the content to be offered by the JV. ESPN is incorporated in Delaware and
headquartered in Bristol, Connecticut.
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           Like ESPN, Hulu is a Defendant in the broader action but is not a direct party to the JV. Hulu is
a Disney affiliate incorporated in Delaware and headquartered in Santa Monica, California.
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       Defendant Fox, which is incorporated in Delaware and headquartered in New York, owns

and operates the Fox broadcast network, several major pay TV networks including the Fox News

Channel, numerous local television stations, and a free ad-supported streaming platform called

Tubi. The Fox Sports division provides sports programming to the Fox broadcast network as

well as several pay TV networks including Fox Sports 1, Fox Sports 2, and the Big Ten Network.

Fox controls broadcast rights to live sporting events from the NFL, MLB, Major League Soccer

(“MLS”), The National Association for Stock Car Auto Racing (“NASCAR”), college football

and basketball, and major international soccer events such as the World Cup.

       Defendant WBD, incorporated in Delaware and headquartered in New York, is the third-

largest media company in the United States. It operates multiple film and television studios,

numerous TV networks, the CNN news channels, and the Max streaming platform. WBD also

owns TNT Sports, which controls WBD’s sports programming rights from the NBA, NHL,

MLB, National Collegiate Athletic Association (“NCAA”)’s March Madness championships,

and NASCAR. These live sports events are broadcast on multiple of WBD’s TV networks,

including TNT, TBS, and TruTV, and on occasion are also streamed on Max.

       B. Sports and the Live Pay TV Industry

       The linear4 pay TV industry is made of three basic tiers: (1) creation, i.e., the

development of television content; (2) programming, i.e., the packaging of television content by

the networks; and (3) distribution, i.e., the delivery of television to consumers. Some companies,


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          “Linear” channels are those that are programmed in a time sequence, with content offered in a
particular order and at a specific time. For example, on August 14, 2024, ESPN’s schedule was “Get Up”
(a sports news and opinion show) from 8:00 am to 10:00 am; “First Take” (a sports-oriented debate and
opinion show) from 10:00 am to noon; “The Pat McAfee Show” (a sports news and commentary show
hosted by a former NFL player) from noon to 1:00 pm; the live Little League World Series games at 1:00
pm, 3:00 pm, 5:00 pm, and 7:00 pm; “Rhythm Masters” (a documentary style show relating music and
sports to one another) from 9:00 pm to 10:00 pm; and “SportsCenter” (ESPN’s flagship sports news,
highlights, and analysis show) from 10:00 pm to midnight.
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such as the major media conglomerates that comprise the JV Defendants in this case, participate

in more than one tier of the industry. This case concerns, in particular, the pay TV industry for

live sports. The three tiers described above generally operate as follows with respect to the live

sports segment of the pay TV industry: (1) the sports leagues and governing bodies create

content by developing and scheduling sporting events and then license the rights to televise those

events to (2) sports-focused television networks, like ESPN, TNT, and Fox Sports, as well as

traditional broadcast networks like ABC and Fox, who typically provide commentators and other

packaging elements to the sporting event telecast, and then in turn license the rights to distribute

the programming content to (3) distributors that package and deliver the network channels to the

consumer for viewing, such as traditional multichannel video programming distributors

(“MVPDs”) like Comcast, Charter, or DIRECTV, and, increasingly, virtual MVPDs

(“vMVPDs”) such as YouTube TV, Hulu + Live TV, and Fubo.

       Creators: The Sports Leagues. The governing bodies of the major sports leagues

control the telecast rights to their events. They include the U.S.-based NFL, NBA, NHL, MLB,

PGA Tour, NCAA, NASCAR, as well as international sports entities such as the English Premier

League and Fédération Internationale de l'Automobile, which governs Formula One Racing

(“F1”). As discussed further below, the rights to these sporting events are more valuable than

other television content, and therefore the governing bodies of these leagues have significant

leverage when negotiating contracts for their telecast licensing. Accordingly, the contracts for

these rights are typically long-term and exceedingly profitable for the leagues. As illustrative

examples, the NFL entered into media rights agreements in 2021, which took effect in 2023, with

CBS, NBC, Fox, ESPN, and Amazon valued at $110 billion over 11 years; MLB recently

entered into seven-year agreements with Fox, Turner Sports, and ESPN valued between $3.2 and



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$5.1 billion; the NBA’s current media rights deals with NBCUniversal, Amazon, ESPN, and

Turner Sports are estimated to be worth $76 billion over 11 years; and even traditionally lower-

interest sports (in the United States) such as MLS and F1 have recently garnered media rights

deals valued at $2.5 billion and $75 million, respectively. The practical reality of these steep

prices is that only the largest television programmers, and, increasingly, well-capitalized

technology corporations (such as Amazon or Apple), can negotiate telecast licensing deals

directly with the leagues.

       Programmers: Television Networks. The programmers of these live sports events

include pay TV networks owned by the JV Defendants, such as ESPN (Disney), TNT (WBD),

and FOX Sports 1 (Fox), among others such as CBS Sports and USA, which are owned by CBS

Broadcasting Inc. (itself a subsidiary of ViacomCBS) and Comcast’s NBCUniversal,

respectively. Programmers add value by combining the live sports content from the leagues with

programmer-produced content, such as play-by-play or color commentary, proprietary editing,

and on-field interviews. They then package that content into linear channels for distribution.

Operating as the middle tier in this three-tiered market, the networks in turn generate revenue by

selling advertising minutes during the broadcast, and by licensing their channels to distributors

on a per-subscriber per-month basis (known as “affiliate fees”) through contracts with the

distributors, dubbed “carriage agreements.” Carriage agreements govern the terms under which

the networks provide the distributors access to their programming and detail the parties’

respective rights to advertising dollars and programming inventory.

       Distributors: MVPDs and vMVPDs. MVPDs are services that distribute multiple

linear television networks directly to consumers. Some of the most well-known MVPDs in the

United States include cable and satellite companies like Comcast, DISH, DIRECTV, and



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Verizon Fios. vMVPDs are—practically speaking—the same as MVPDs, except virtual. This

means that rather than delivering the aggregated live and on-demand TV content by satellite or

cable boxes like traditional MVPDs, vMVPDs stream the content to consumers over broadband

internet. Popular vMVPDs include Hulu + Live TV, Fubo, and YouTube TV. MVPDs and

vMVPDs negotiate directly with the networks described above—such as Disney, Fox, WBD,

NBC, and CBS—for the rights to license television networks, including those that host live

sports content.5

       C. The Live Pay TV Industry Practice of “Bundling”

       Put simply, the term “bundling” in the pay TV ecosystem refers to the practice by

programmers of packaging several of their networks together to be distributed either together (to

at least some degree), or not at all. For example, in exchange for the rights to distribute ESPN to

subscribers, Disney might require a distributor to also carry its entertainment channels like the

Disney Channel or Freeform; and if that distributor does not want to carry these other channels,

it does not get to distribute ESPN. Hence, ESPN is “bundled” with Disney Channel and

Freeform.

       Bundling has been an industry-wide practice for at least the last four decades. Bundling

is ubiquitous because in many cases, at least some subset of consumers enjoy having ready

access to hundreds of channels and doing so on a less-expensive basis than they otherwise would



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          Traditional broadcast networks (ABC, NBC, CBS, and Fox broadcast) also have rights to a
significant number of live sporting events and remain available for free over the airwaves to customers
with the equipment and geographic location to receive those broadcast signals, in addition to their
availability on MVPDs and vMVPDs. In recent years, some major media companies in the middle tier
have formed proprietary vMVPDs that prominently feature the programmer’s own channels and content,
including live sports, but also include content from others, such as NBCUniversal’s Peacock streaming
service and ViacomCBS’ Paramount+ streaming service. As discussed further infra § I(D), operating
separately but in parallel to this three-tier system are companies that offer streaming video on demand
(“SVODs”) such as Netflix, Amazon Prime Video, and Hulu. To a much lesser extent, SVODs and other
direct-to-consumer offerings also distribute some live sports content to consumers.
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if they paid for each channel individually. This was especially true in the heyday of traditional

linear pay TV, before the rapid spread of broadband internet heralded the advent of streaming

video on-demand platforms (“SVODs”) and other on-demand sources for entertainment-focused

programming. The bundle allowed consumers to have a relatively affordable “one stop shop” for

all sources of entertainment for a single household, including sports, news, entertainment,

movies, and more. Even as some consumers enjoyed the benefits of the bundle, others resented

paying for products they did not want or watch; this was true even before the advent of on-

demand internet-based entertainment options.

       Bundling is the subject of heavy and lengthy negotiations between programmers and

distributors, and the finalized terms are memorialized in the parties’ carriage agreements. These

carriage agreements, in addition to setting forth the bundling requirements, typically contain

what are referred to as “minimum penetration requirements” (in industry shorthand, “min pens”)

for those bundled networks. Minimum penetration requirements specify the proportion of

subscribers that a distributor is obligated to make a particular network available to. For example,

in a hypothetical agreement between Fubo and Disney, a minimum penetration requirement of

85% for Nat Geo Wild (a Disney-owned entertainment channel) would mean that Fubo is

contractually obligated to distribute the Nat Geo Wild channel to 85% of all Fubo subscribers

and pay the corresponding affiliate fees for Nat Geo Wild regardless of the number of

subscribers who actually watch the channel. Programmers can also require that their channels be

bundled with competitor channels: requiring, for example, that a distributor include a minimum

number of other children’s entertainment channels in any package that includes Cartoon

Network, or requiring that if a distributor offers any package containing any other children’s

entertainment channel, that package must also include Cartoon Network.



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       Minimum penetration requirements and bundling have allowed programmers to extract

significant value from under-performing or lower-performing channels. In some instances,

programmers can use bundling to get twice the revenue they otherwise would from certain linear

channels.6 They do this by combining “must have” channels (e.g., ESPN) with less-desirable

channels (e.g., Freeform) so that one cannot be purchased without the other, and then by setting

high minimum penetration requirements on the latter to ensure that they are receiving affiliate

fees for that secondary channel from as many subscribers as possible, regardless of whether

those subscribers are watching the content. In essence, bundling and minimum penetration

requirements allow programmers to leverage the value of their high-demand content to ensure

“eyeballs” (and affiliate fees) for their lower-demand content, as well as provide an incubator to

grow new or niche channels that might not otherwise be profitable on their own.

       Because this combination of bundling and minimum penetration requirements is so

powerful and profitable, programmers are not typically in the business of unbundling their

networks from one another. When unbundling does occur, it usually happens with less-

expensive entertainment-only channels (e.g., The Hallmark Channel), because the programmers

are not otherwise guaranteed to distribute that channel. Sports-focused channels, or general

entertainment channels that also feature high-interest sporting events such as NFL games,

however (which, as discussed further below, are uniquely valuable to programmers and uniquely

expensive to distributors), are rarely unbundled. Indeed, prior to the JV, the JV Defendants’




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           See, e.g., Warbrooke Dep. 196:11–17.
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sports-focused channels have never been unbundled from their non-sports offerings, as corporate

insider witnesses and documents reveal.7

        Economically, this makes sense. For-profit companies are in the business of maximizing

shareholder value, and bundling has for years allowed programmers in the middle tier of the live

pay TV ecosystem to both afford the expensive telecast rights to sports events and reap

enormous profits from distributors. Recent changes in the pay TV industry, though, are shifting

consumer behavior. The “fat” bundle—meaning a linear pay TV model that includes hundreds

of television channels of all varieties purchased together for a single monthly fee—is no longer

as appealing to consumers as it may once have been, or as accepted by consumers (regardless of

appeal) who now have other options. Changes in the industry and resulting changes in realizable

consumer preferences have rapidly forced programmers and distributors alike to adapt.

        D. Cutting the Cord: The Consumer Exodus from the “Fat” Bundle

        The pay TV industry is in the midst of a dramatic transformation. Traditional MVPDs,

dominant since the advent of in-home pay television, rely on cable, satellite, and set-top

equipment technology and infrastructure to deliver content to viewers’ homes. But that

traditional TV infrastructure, while still used by millions of Americans, is no longer strictly

necessary. TV can now be distributed over broadband internet rather than through cable and

satellite. Over the last decade, millions of consumers have cancelled their subscriptions with

MVPDs that often required a physical cable connection or satellite dish on their homes, in favor



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          See PX055; Lancer Dep. 23:25–25:6; Hearing Tr. 363:8–16 (“Q: [. . .] Now, Mr. Nallen, when
Fox licenses its networks to MVPDs, Fox has not licensed its sports channels separately from its
nonsports channels, correct? // A. That's correct. // Q. Fox has never historically unbundled its channels,
correct? // A. That is correct. // Q. And Raptor will be the first time that Fox licenses its sports channels
without its nonsports channels, correct? // A. That is correct.”); Hearing Tr. 1028:18–21 (JV Defendants’
expert witness Dr. Whinston affirming that he believes the JV is “the first time in the history of these
companies that the defendants are unbundling their sports channels from their other channels”).
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of vMVPDs which stream TV content via the broadband that consumers already have in their

homes (sometimes from those same cable or satellite companies, or from legacy telephone

companies like Verizon), through their mobile cellular service, or through free Wi-Fi in a variety

of commercial and public locations. Millions more consumers have left the linear pay TV

universe altogether. In only the last nine years, since 2015, the total subscribers for live pay TV

multi-channel services (MVPDs and vMVPDs) has decreased by over 26%. The industry

shorthand for this abandonment of MVPDs (whether traditional or virtual) is “cord cutting,” and

the consumers who have made that change are known as “cord cutters.” Fittingly, consumers

that may have never had an MVPD service of any kind are dubbed “cord nevers.”

       Cord cutting has been hastened by the explosion in popularity of SVODs like Netflix,

Amazon Prime Video, Hulu, and Apple TV+, which also deliver content to consumers over the

internet. SVODs circumvent the traditional linear pay TV distribution scheme entirely by

offering their content, which they both license and create, for consumer viewing directly on

proprietary platforms and apps. While technology has allowed consumers to “time-shift” their

viewing of linear channels to some degree, SVOD services have no linear programming at all,

and their content is available entirely “on demand.” Between 2015 to 2023, SVODs subscribers

increased by over 430%. As discussed below, SVODs are replacements for MVPDs for some

consumers, and supplements to ongoing MVPD subscriptions for other consumers.

       What does all this have to do with live sports? Well, despite this dramatic and ongoing

consumer exodus from the fat bundle, linear pay TV remains the dominant source of live sports

programming. While some SVODs have licensed the rights to certain live sports events, SVODs

are not currently the standard delivery mechanism for the overwhelming majority of live sports

content to consumers. These proportions are beginning to change, as well-capitalized tech firms



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behind some leading SVOD services bid for sports telecast rights. For example, Amazon Prime

Video recently announced an $11 billion 11-year deal with the NFL for streaming rights to

Thursday Night Football and a $1.8 billion-per-year over 11 years agreement to be the exclusive

streaming service for 66 regular-season NBA games. Netflix has also announced that it will

exclusively stream two NFL Christmas Day games. Furthermore, some sports leagues and

regional sports networks also self-distribute content directly to consumers through their own

platforms, circumventing the programmers and distributors altogether. The industry calls these

Direct to Consumer, or “DTC” platforms. These DTCs include NBA League Pass, MLB.TV,

NFL+, NHL.TV, YES, and F1 TV. These too represent a much smaller percent of the rights to

live sports events than traditional broadcasters, and are typically limited by various blackout

requirements that accompany the leagues’ distribution agreements with their licensee

programmers.

        So, while SVODs and DTCs may well turn out to be the sports hubs of the future, the

vast majority of current live sports offerings remain only available to consumers with traditional

or virtual MVPD subscriptions (or some method of accessing free broadcast channels, an

increasingly minute number of U.S. households8). This means that a disproportionate percentage

of sports fans have remained in the fat bundle in order to retain access to the content they value

most (and, as a corollary, sports fans have become the primary audience for the fat bundle, as

they are among the few categories of consumer who cannot meet their television content needs




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           Neilsen estimates that fewer than 20% of U.S. households have the ability to access free “over
the air” channels; fewer than 5% of households have “over the air” access and do not also have MVPD
and/or SVOD subscriptions. See “Beyond big data: The audience watching over the air,” NIELSEN (Jan.
2024) available at https://www.nielsen.com/insights/2024/beyond-big-data-the-audience-watching-over-
the-air/ (last accessed August 15, 2024).
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elsewhere)—a conclusion that follows naturally from the above facts, and that was also ratified

by every industry witness at the Hearing in this matter.

       E. The Unique Value and Significance of Live Sports TV

       Live sports are special, with a unique combination of qualities that other television

content lacks. The most obvious and important of these is that live sports are live; each event

occurs one time only and the appeal lies in the uncertainty of the outcome, which evaporates

almost immediately upon the event’s conclusion. This ephemerality is why 97% of all sports

broadcasts are consumed in real time. Indeed, with few exceptions (rare and one-off events like

the Oscars or a presidential debate), live sports are the only remaining “appointment television.”

But there are also other features that make live sports exceptional in the pay TV landscape: many

professional and college sports seasons last for months out of the year, often culminating in

multi-day or even multi-week playoff or championship periods; audiences, comprised of loyal

fans, are remarkably reliable and durable; and unlike almost any other form of entertainment,

live sports transcend typical and entrenched demographic divides.

       This alchemical combination of non-replicable content, consistent and passionate

viewership, predictable audiences on specific days and times, and broad cultural appeal makes

live sports extraordinarily valuable media properties. Advertising spots during live sporting

events consistently go for the highest prices in the market. Because virtually all sports are

viewed in real time, advertisers minimize the risk that their commercials are fast-forwarded

through by impatient viewers. Live sports are likewise the most expensive of all television

content for distributors to license from programmers. On average, sports networks cost $1.30

per subscriber per month for distributors to license, while non-sports networks cost only an

average of $0.71 per subscriber per month. At the top of the list of most expensive networks to

license is ESPN, which costs distributors an average of a whopping $9.42 per subscriber per
                                                16
month. Regional sports networks (“RSNs”), which are television channels that present sports

programming confined to a specific local media market, range in fees from approximately $3.50

to $8.50 per subscriber per month. TNT, owned by WBD, which carries an array of high-value

professional and college sports, costs approximately $3.00 per subscriber per month.

        In contrast to other categories of television content, the popularity of live sports only

continues to grow. In 2023, 96 of the 100 most watched telecasts across the pay TV ecosystem

were live sports events. The JV Defendants’ sports-focused programming follows this same

pattern. 2023 was a viewership high point in the history of Fox Sports, with approximately 450

billion minutes of sports content consumption across all networks. And for TNT and TBS,

owned by WBD, all twenty of the top twenty telecasts on these networks in 2023 were live sports

events. Sports’ flourishing popularity makes networks with sports licensing rights essential to

include in any competitive live pay TV package, especially considering the changes in the

market caused by cord cutting. Disney’s CEO Bob Iger explicitly acknowledged this in 2016

when he said, “[Y]ou cannot launch a new multichannel platform – a platform or bundle,

whether it is, by the way, 30 channels or whether it is 150 channels, you can’t do it successfully

without ESPN.”9

        F. The JV Defendants’ Dominance Over Live Sports Licensing

        Together, the JV Defendants control approximately 54% of all U.S. sports rights, and at

least 60% of all nationally broadcast U.S. sports rights. There is significant evidence in the

record that the true figures may be even larger.10 With respect to licensing rights for the “Big


        9
         PX337 at 18.
        10
          See PX086 at 3 (JV Defendants’ internal document stating that “FOX-DIS-WBD Combined”
“Total Sports Viewing” “Market Share” is “62%”), PX243 at 1 (ESPN CEO James Pitaro stating the JV
Defendants’ share of “U.S. sports rights” is “actually over 60%!”), PX211 (“the JV bundle will contain an
estimated 62% of total sports events” including “80% of National games, including 81% of all Regular
Season and 98% of all Playoffs”).
                                                   17
Five” sports—the NFL, NBA, MLB, NHL, and college football—the JV Defendants control

closer to three-fourths of the market.11 And for professional baseball, hockey, football, and

basketball, the JV Defendants own closer to 80% of the rights of all nationally broadcast games

and 98% of all playoff games.12

       This means that alone, Disney, Fox, and WBD are each significant players in live sports

licensing, who otherwise compete against each other both to secure sports telecast rights and to

attract viewers to their live sports programming. But together, they are dominant. The only

other programmers with a significant share of live sports telecast licenses are NBC and CBS.

Therefore, to get any meaningful amount of live sports content to consumers, multichannel

distributors must contract with at least one of the JV Defendants. And because of their market

power and the undisputed value of their products, the JV Defendants have significant leverage in

carriage negotiations with distributors. Their sports content enables them not only to charge high

license fees, but also secure favorable distribution and contractual provisions pertaining to their

non-sports networks as well. In fact, in 2020, Fubo had to drop WBD’s networks because it

could not afford both Disney and WBD’s terms, and other distributors like Charter have had

recent “blackout” periods due to, in part, the high rates the JV Defendants were seeking for

sports content and onerous bundling requirements for other non-sports networks in order to

secure sports channels.




       11
           See PX245 at 3 (ESPN President Mr. Pitaro reporting that the JV’s “networks and services
captured over 85% of college football, NBA, MLB, and NHL audience share in 2022” and “nearly 45%
of the NFL audience”); PX404 (WBD CEO Mr. Zaslav stating that together, the JV Defendants “have
about 75% of the sports”); Iger Dep. 20:17–24 (“Q. And, management anticipates that Raptor will have
85 percent of major league baseball viewing hours? // A. Yes. // Q. And management also expects that
Raptor will have 100 percent of all NHL viewing hours. Is that correct? // A. Yes.”).
        12
           See PX211.
                                                 18
       G. The Joint Venture

       Recognizing the unique value of their sports content in an age of waning linear pay TV,

discussions among the JV Defendants regarding a potential sports-focused joint venture began in

spring 2023. Originally, Disney approached Fox about potentially licensing its content for ESPN

Flagship (an ESPN-only streaming service expected to launch in 2025), and Fox in turn proposed

the idea of a joint venture instead. Serendipitously, around this same time WBD also approached

Fox about a similar streaming joint venture. Ultimately, all three JV Defendants undertook

discussions and negotiations, during which they referred to the incipient JV with the codename

“Raptor.”

       On February 6, 2024, Disney, Fox, and WBD signed a nonbinding term sheet and

publicly announced the JV as a streaming application that will provide the JV Defendants’ sports

programming direct to consumers. The press release announcing the JV stated that the streaming

application would “bring together the [JV Defendants’] portfolios of sports networks,” including

“content from all the major professional sports leagues and college sports.”13 Unlike any other

offering currently in the market, the JV will offer 14 of the top sports channels in the United

States completely unbundled from any other of the JV Defendants’ networks. The target

consumer will—for the first time—be able to subscribe to a vast array of the sports content he or

she wants, without paying for entertainment content he or she does not.

       According to the JV Defendants, Raptor was intended to attract “moderate” sports fans

among cord-cutters and cord-nevers who are not currently subscribers to linear pay TV through

an MVPD or vMVPD service. As Mr. Pitaro, President of ESPN, testified, the JV “is about

speaking to, attracting sports fans, especially younger sports fans that are very price sensitive,


       13
         Business Wire, “ESPN, FOX and Warner Bros. Discovery Forming Joint Venture to Launch
Streaming Sports Service in the U.S.,” (Feb. 6, 2024).
                                                 19
who are on the sidelines right now and getting them off the sidelines, whether they are on

sidelines because they have cut the cord or they have never subscribed.”14 The reason the

“sidelines” sports fan is the JV’s purported target customer (as opposed to any sports fan in the

pay TV market) relates to a phenomenon called “cannibalization.” Cannibalization refers to the

JV’s potential to “eat” the affiliate fees that JV Defendants already earn from customers

currently in the MVPD or vMVPD ecosystem. For every customer currently in the “bundle,” the

JV Defendants earn fees not only on their sports channels that customer pays for, but also on all

their other channels bundled alongside their sports channels, regardless of whether the sports fan

or anyone else in the fan’s household watches them. However, the JV will pay each JV

Defendant per-subscriber affiliate fees only for the unbundled sports networks it carries, which

therefore means correspondingly less revenue (at least measured in terms of affiliate fees) to the

JV Defendants. Hence, the JV Defendants and their C-Suite decision-makers say the JV is not

intended to “steal” customers from the MVPD market, but rather to attract sports fans who like

sports enough to subscribe to the JV, but not enough to subscribe to an MVPD or vMVPD.

Despite these claims, the JV Defendants’ own internal documents estimate that between 50 and

70% of the JV’s subscribers will be viewers who drop a current MVPD subscription to instead

subscribe to the JV.15 Even with this extensive cannibalization, capturing the remaining sports-

focused viewer is so valuable that one JV Defendant estimated that Raptor would still be


        14
         Hearing Tr. 481:6–10.
        15
         See PX261 at 19 (                                                                         );
DX067 at 7 (                                                                       ); PX253 at 7
                                                                                            ”); see also
Hearing Tr. 481:11–19 (Pitaro Direct: “Q. So from day one you testified that you have been intending to
target cord-nevers and cord-cutters and doing everything you can to do that, correct? // A. Yes. // Q. And
despite that stated intent, at this point in January 2024, you told Disney’s board and executives that you
expected 67 percent of Raptor subscribers to be trade-downs from pay TV, is that correct? // A. That is
correct. My job is to make sure that we are being financially conservative and putting in front of them a
plan that we believe we can hit.”).
                                                    20
extremely profitable to its partners if just one new customer subscribed for every three customers

who switched from their current MVPD.16

        Since its announcement, despite this lawsuit and reported regulatory scrutiny by the U.S.

Department of Justice, the JV has charted a steady progression towards launch. On March 15,

2024, Peter Distad—a former Apple and Hulu executive—was announced as CEO of the JV. On

May 8, 2024, Lachlan Murdoch, Executive Chairman and CEO of Fox, announced that 150

engineers and executives were working to prepare the JV for launch. On May 16, the JV

Defendants officially announced “Venu Sports” (pronounced “venue”) as the external name and

branding for Raptor.

        Because it has yet to launch, not all the JV’s specific terms and offerings are available. A

few features, though, are relevant and undisputed:

    •   Programming: The JV will include 14 linear networks from the JV Defendants: seven
        Disney networks (ABC, ESPN, ESPN2, ESPNU, ESPNews, SEC Network, and ACC
        Network), four Fox networks (Fox, FS1, FS2, and Big Ten Network), and three WBD
        networks (TNT, TBS, and TruTV). It will also provide subscribers access to ESPN+, the
        digital companion services of SEC Plus and ACC Network Extra, and the base tier of
        ESPN Flagship (expected to launch in 2025).
    •   Launch Date: While no firm date for the JV’s launch has been publicized, it is generally
        set to become available sometime in fall 2024, to correspond with the beginning of the
        NFL season, pending regulatory approval.17
    •   Subscriber Price: The JV will cost consumers $42.99/month. A seven-day free trial
        subscription is planned as an offering, as well as month-long free trials for customers

        16
             See PX026 at 11




                           ”); see also Hearing Tr. 811:25–812:5 (Espinosa Cross: “Q. As long as Fox
attracts a certain [ratio] of cord-nevers to cord-cutters, in this document 1:3, Fox has a profit incentive to
maximize the size of Raptor, correct? // A. Correct. And we have an incentive to make sure that the
majority of subscribers come from outside, because the higher the ratio, the more money we make.”).
         17
            During the Hearing and closing arguments, several references were made to an expected launch
date in late August 2024. The JV itself has not publicly confirmed that date.
                                                     21
        who already subscribe to an SVOD controlled by one of the JV Defendants, such as
        Disney+ or Max.
    •   Initial Term: The initial term of the JV is limited to nine years from the date of the
        launch. The term sheet is silent as to renewals or extensions of that period.
    •   Non-Exclusive Content on Favorable Terms: Individual channels of content offered on
        the JV will not be exclusive to it. MVPDs, vMVPDs and other services that currently
        have distribution rights to JV Defendants’ networks will continue to be able to offer them
        to their subscribers, and the JV Defendants will continue to be able to offer their
        networks to other distributors, including their own future DTC services like ESPN
        Flagship. However, the JV will receive “most favored nation” status on affiliate fees:
        paying no more than any distributor within an agreed-upon set of six comparable
        distributors.
    •   Corporate Governance: Each JV Defendant will have two of the six seats on the JV’s
        Board of Directors. The JV will be run by independent management, and the JV
        Defendants will have limited roles in its day-to-day operations. The JV will not negotiate
        sports licensing rights directly with the leagues. Furthermore, the JV will have various
        firewalls in place to avoid sharing competitively sensitive information among the JV
        Defendants and between them and the JV, including information regarding affiliate fees,
        packaging and bundling requirements, contract terms with third parties, subscriber-level
        data, and non-aggregated advertising or viewership data.
    •   Financial Terms: Each JV Defendant will own an equal one-third stake in the JV. Each
        JV Defendant will enter into a separate carriage agreement with the JV for the
        distribution of its own channels designated for the JV. The JV Defendants will each earn
        affiliate fee revenue for their own networks and any on-demand content licensed to the
        JV. Each JV Defendant will retain 100% of the advertising revenue for their channels
        and programs.18
    •   Non-Compete: As part of the binding term sheet for the JV, the JV Defendants executed
        a “non-compete” agreement. This non-compete does not interfere with each JV
        Defendant’s ability to license their programming to other distributors, but does “limit the
        [JV Defendants] from owning any form of equity interest, including a revenue-sharing or
        profit-sharing interest, in a commercial venture, where the focus of the commercial
        venture is the operation of a sports-centric vMVPD similar to the JV Platform […] for a
        period of three (3) years from the Launch Date.”19




        18
           Typically, an MVPD distributor retains about two minutes per hour of advertising space and
the associated revenue, and the balance belongs to the programmer. See Hearing Tr. 213:16–214:15.
        19
           JX045 at 17.
                                                  22
       Even before these details about the JV were known, Fubo executives recognized the JV

as an existential threat to Fubo.20 Since its founding, Fubo has consistently marketed itself as a

live sports-focused streaming service. “Fubo” is itself a play on the word “football” (as in

soccer, not American football). Fubo receives most of its customers through its seven-day free

trial offer, and Fubo’s internal data reveals that free trials spike considerably on days with major

sporting events.21 More than 80% of “first views,” (i.e., the first piece of content a customer

watches for at least five minutes immediately after starting a Fubo free trial) are live sports

programming.22 Furthermore, half of all first views on Fubo are for Disney or Fox channels, and

92% of first views across all Fox channels are for sports content. This data reflects the reality

that Fubo’s customers are predominantly sports-motivated consumers. But Fubo’s least-

expensive base package—which does not include any WBD networks (but does include

RSNs)—costs consumers almost double what the JV will.

       The market recognized this tension immediately: the day the JV was announced, Fubo’s

stock dropped 22%. According to Fubo’s executives, including its CFO John Janedis, the

company is confident that if the JV launches, Fubo will lose between 300,000 and 400,000

subscribers before the end of 2024, causing an almost-immediate projected revenue loss between



       20
           The recognition of the JV as an existential threat to MVPDs and vMVPDs was not limited to
those at Fubo. See Hearing Tr. 442:25–443:18 (




                                            .”); see also PX216 at 4 (
                                                                ”).
       21
            See Hearing Tr. 538:5–539:11.
       22
            See Hearing Tr. 540:20–541:5.
                                                     23
$75 million and $95 million.23 Less than three weeks after the JV’s announcement, in

recognition of these market realities, Fubo initiated this “bet-the-company” litigation.

II.    PROCEDURAL HISTORY

       A. Fubo Files this Action and Moves for an Injunction

       Fubo initiated this action by complaint on February 22, 2024, seeking a declaratory

judgment against Defendants Disney, ESPN, Hulu, Fox, and WBD for violations of federal and

state antitrust laws and equitable relief in the form of a permanent injunction. See Dkt. No. 1.

On April 9, 2024, Fubo filed the Motion, seeking to preliminarily enjoin the launch of the JV or,

in the alternative, enjoin the JV Defendants from enforcing certain bundling restrictions in their

carriage agreements with Fubo. See Dkt. Nos. 94–112. Fubo included 10 declarations in support

of the Motion: (1) Thomas G. Schultz, Fubo’s attorney (see Dkt. No. 97); (2) Jonathan Orszag,

Fubo’s expert economics witness on the competitive effects of the proposed JV (see Dkt. Nos.

98, 99); (3) James Trautman, Fubo’s expert on the pay TV industry (see Dkt. Nos. 100, 101); (4)

David Gandler, Fubo’s co-founder and Chief Executive Officer (see Dkt. Nos. 102, 103); (5)

John Janedis, Fubo’s Chief Financial Officer (see Dkt. Nos. 104, 105); (6) Alberto Horihuela,

Fubo’s co-founder and Chief Operating Officer (see Dkt. Nos. 106, 107); (7) Todd Mathers,

Fubo’s Senior Vice President of Content Strategy (see Dkt. Nos. 108, 109); (8) Henry Ahn,

Fubo’s current advisor and former Chief Business Officer and Board member (see Dkt. No.

110)24; (9) Gary Schanman, Executive Vice President and Group President of Video Services for

EchoStar Corporation, owner of DISH Network Corporation (“DISH”) (see Dkt. No. 111); and

(10) Robert Thun, DIRECTV’s Chief Content Officer (see Dkt. No. 112).



       23
         See Hearing Tr. 592:24–593:5; see also Dkt. Nos. 104, 105 (“Janedis Decl.”) ¶¶ 25–29.
       24
         The Declaration of Henry Ahn was later withdrawn from the record in support of Fubo’s PI
Motion. See Dkt. No. 199.
                                                 24
        On April 9 and 10, 2024, Fox, WBD, and the Disney Defendants filed separate motions

to dismiss Fubo’s original complaint. See Dkt. Nos. 113–116, 119, 120, 122, 125, 126, 129, 130.

Also, on April 10, 2024, Defendants jointly requested a stay of discovery pending resolution of

their motions to dismiss (see Dkt. Nos. 128, 132), which Fubo opposed on April 12, 2024,

asserting that “the parties should be afforded the opportunity to conduct discovery so that the

Court will have an adequate evidentiary record on which to rule on [the Motion]” (see Dkt. No.

135).

        On April 16, 2024, the Court held an initial pre-trial conference. At the conference, the

Court focused on Fubo’s Motion and discussed the need to set a date for the Hearing as well as

an expedited discovery schedule. See Dkt. No. 149. Shortly thereafter, the Court issued an order

denying Defendants’ request to stay discovery and directing the parties to file a joint letter

proposing a hearing date for the Motion and a schedule for limited discovery, as well as staying

all briefing on Defendants’ pending motions to dismiss. See Dkt. No. 137. On April 19, 2024,

the Court scheduled the Hearing for August 7, 2024 and entered an expedited discovery

schedule.25 See Dkt. No. 140.

        On April 29, 2024, Fubo filed an amended complaint. See Dkt. Nos. 144, 145. The

following day, the Court issued an order reiterating that all briefing on Defendants’ pending

motions to dismiss was stayed and adjourning “any deadline . . . by which the Defendants must

respond to the Amended Complaint” pending the outcome of the Hearing. See Dkt. No. 146.

        B. The Parties Engage in Expedited Pre-Hearing Discovery and Raise Related
           Disputes

        The parties filed numerous discovery motions in advance of the Hearing.



        25
           The Hearing was later rescheduled to begin on August 6, 2024, to afford the parties additional
time to present witness testimony. See Dkt. No. 199.
                                                    25
       First, Fubo moved to amend the discovery schedule on May 14, 2024 in order to

supplement its expert declarations and to allow Fubo to submit supplemental expert disclosures

(see Dkt. Nos. 160, 161), which the JV Defendants opposed via letter motion on May 16, 2024,

arguing that Fubo’s “request to file a series of new and untimely expert disclosures . . . would

prejudice Defendants” (see Dkt. No. 163). On May 22, 2024, the Court issued an order granting

Fubo’s motion. See Dkt. No. 171.

       On May 23, 2024, Fubo moved to compel the JV Defendants to produce documents

“concerning their practice of requiring third-party distributors like Fubo to license their content

on a ‘bundled’ basis” and the Disney Defendants to include “four key executives” as document

custodians, as well as to set an end date for document productions for May 17, 2024, rather than

late April as the JV Defendants proposed. See Dkt. No. 176. On May 28, 2024, the JV

Defendants opposed Fubo’s requests, asserting that Fubo failed to offer “any legitimate reason”

for extending the deadline to produce documents and that Fubo’s bundling claim “lack[ed]

merit,” as did its “unjustified and unworkable” request for additional document custodians. See

Dkt. No. 177. On May 31, 2024, the Court held a conference, during which the Court denied

Fubo’s request for additional discovery on bundling and granted in part its request to add two of

the four Disney executives as custodians. See Dkt. No. 187.

       The same evening, Fubo filed another motion requesting that the Court compel the JV

Defendants to “produce text messages between or among document custodians concerning

topics” relevant to the Motion. See Dkt. No. 179. On June 4, 2024, the JV Defendants opposed,

arguing that Fubo’s “belated and burdensome” request should be denied because it exceeded the

“limited scope of discovery” for the Hearing. See Dkt. No. 181. The Court denied Fubo’s

motion. See Dkt. No. 182.



                                                 26
       On June 14, 2024, Fubo filed a motion requesting that the Court quash six deposition

notices served by the JV Defendants for Fubo employees Marisa Elizondo, Sal Marchesano,

Yale Wang, Ben Grad, and Ameet Padte, and former employee Henry Ahn. See Dkt. Nos. 185,

186. On June 19, 2024, the JV Defendants responded, asserting, inter alia, that the six witnesses

they were seeking to depose were relevant and should be compelled. See Dkt. Nos. 190, 191.

The Court held two conferences—the first on June 20, 2024, and the second on June 28, 2024—

on this issue. At the June 20 conference, the JV Defendants outlined the kinds of “non-

duplicative information” deposing Ms. Elizondo, Mr. Marchesano, and Mr. Wang would provide

that could not be obtained solely from deposing Mr. Mathers and Mr. Horihuela (whom Fubo

had already agreed to produce for scheduled depositions). See Dkt. No. 196. After hearing

Fubo’s rebuttal, the Court “provisionally grant[ed] the motion to quash as to Ms. Elizondo, Mr.

Marchesano, and Mr. Wang;” however, the Court informed the parties that it would revisit the

issue on June 28, i.e., after Mr. Mathers’s and Mr. Horihuela’s depositions, if Defendants

continued to believe that those three witnesses’ testimony were necessary and “non-duplicative.”

Id. at 21:12–23. At the June 28 conference, Defendants, having resolved the issue of Ms.

Elizondo’s deposition, reiterated the need to take Mr. Marchesano’s deposition, this time to

address three topics that Mr. Mathers’s deposition failed to address. See Dkt. No. 208. The

Court subsequently ordered Fubo to produce Mr. Marchesano for a half-day deposition. Id. at

8:2–6. That same day, the Court issued an order summarizing the resolution reached at these

conferences requiring Fubo to make three witnesses—Mr. Grad, Mr. Padte, and Mr.

Marchesano—available to the JV Defendants for deposition. See Dkt. No. 199.26



       26
          As noted above, the dispute over Mr. Ahn’s deposition was resolved by Fubo’s agreement to
withdraw the Ahn Declaration and the Defendants’ resulting agreement to withdraw his notice of
deposition.
                                                 27
       On June 29, 2024, Fubo filed a motion requesting that the Court compel Fox to produce

documents without certain redactions relating to confidential business information. See Dkt. No.

204. That same day, the Disney Defendants filed an unrelated letter motion requesting that the

Court either compel DIRECTV, a third-party, to produce certain documents or otherwise to

exclude the Declaration of Robert Thun, DIRECTV’s Chief Content Officer, and his testimony

from the Hearing altogether. See Dkt. Nos. 205, 206. On July 1, 2024, the Court ordered the

parties to appear for a conference on July 2, 2024, to discuss these two motions. See Dkt. No.

207. On July 1, 2024, Fox opposed Fubo’s motion to compel, asserting that the unredacted

confidential business information that Fubo was seeking was “irrelevant” to the JV and for

purposes of the Hearing. See Dkt. No. 211. DIRECTV also opposed the Disney Defendants’

motion to compel, arguing that the Disney Defendants’ demands consisted of “wholly

unjustified” attempts to “obtain intrusive discovery into [DIRECTV’s] confidential business

strategies and competitively sensitive commercial information.” See Dkt. No. 212. On July 2,

2024, the Court held a conference, during which the Court granted in part and denied in part the

parties’ motions to compel. See Dkt. No. 216. Specifically, the Court granted Fubo’s motion

insofar as it ordered Fox to produce unredacted versions of all responsive documents (excepting

slide decks where an entire slide was non-responsive when viewed as a standalone document)

and denied Disney Defendants’ motion for discovery from DIRECTV except with respect to

DIRECTV’s carriage agreements with various non-Defendant programmers, which the Court

ordered produced. Upon encouragement of the Court at the July 2, 2024 conference, the parties

submitted an Amended Stipulated Protective Order on July 5, 2024, including new confidential

designations for Highly Confidential Attorney’s Eyes Only material and Highly Confidential




                                               28
Outside Attorney’s Eyes Only material, in order to facilitate discovery. See Dkt. No. 217. The

Court entered the Amended Stipulated Protective Order on July 8, 2024. See Dkt. No. 218.

        On July 19, 2024, the Court entered the parties’ Joint Pre-Hearing Stipulation, which set

forth certain parameters for briefing in opposition and on reply to the Motion as well as

guidelines pertaining to the introduction of testimony and exhibits at the Hearing. See Dkt. No.

220. That same evening, Fubo filed another discovery motion proposing that “that the parties

provide deposition designations to the Court for its review outside of the [Hearing], rather than

using trial time[.]” Dkt. No. 221. On July 22, the JV Defendants opposed, see Dkt. No. 222, and

on July 24 the Court granted the motion and ordered the parties to submit the deposition

designations in video form to the Court by Friday, August 2. See Dkt. No. 226.

        Fubo filed another motion to compel discovery on July 22, 2024, seeking production of

certain intra-Defendant communications that were withheld or redacted by the JV Defendants on

the basis of common-interest privilege (see Dkt. Nos. 224, 225); the JV Defendants opposed on

July 24, 2025 (see Dkt. Nos. 229, 230). On July 26, 2024, the Court held a conference to hear

from the parties on the motion. At the conclusion of the conference, the Court granted Fubo’s

motion to compel and ordered Defendants to produce the relevant redacted or withheld

communications by Monday, July 29. See Dkt. No. 237.

        C. The JV Defendants Oppose the Motion, Fubo Replies, and the Parties File Pre-
           Hearing Submissions

        On July 25, 2024, after approximately three months of expedited but extensive discovery,

the JV Defendants filed a single, consolidated, 65-page opposition to the Motion. See Dkt. Nos.

238, 239 (the “Opposition,” or “Opp.”).27 The Opposition was filed with supporting declarations



        27
          The JV Defendants originally filed their opposition memorandum of law on July 25, 2024 (see
Dkt. Nos. 233 and 235) but later filed a “corrected” version on July 29, 2024 (see Dkt. Nos. 238, 239).
                                                  29
from: (1) J. Wesley Earnhardt, attorney for the Disney Defendants, attaching 140 exhibits (see

Dkt. Nos. 234, 236); (2) Edwin S. Desser, the JV Defendants’ expert on the sports broadcasting

market, the JV’s anticipated role in and effect on that market, and other market-related issues

pertinent to the Motion (see Dkt. Nos. 234-151, 236-133); (3) Michael D. Whinston, Ph.D., the

JV Defendants’ rebuttal expert witness on economics and antitrust matters (see Dkt. Nos. 234-

152, 236-134); and (4) Anthony Petitti, commissioner of the Big Ten Conference, Inc. (see Dkt.

Nos. 234-153, 236-135).

        On August 1, 2024, Fubo filed its 45-page Reply in support of the Motion (see Dkt. Nos.

245, 247, the “Reply”), attaching four supplemental supporting declarations, including from:

(1) Thomas G. Schultz, which attached 143 exhibits (see Dkt. Nos. 246, 248); (2) a “Second”

declaration from Robert Thun, DIRECTV’s Chief Content Officer (see Dkt. No. 248-27); and

“Updated” declarations from Fubo’s experts (3) James Trautman (see Dkt. No. 248-136) and

(4) Jonathan Orszag (see Dkt. No. 248-137). The same day, the parties jointly submitted their

list of testifying witnesses, exhibits sought to be admitted at the Hearing, and deposition

designations. See Dkt No. 250.28

        On August 2, 2024, non-parties Sports Fans Coalition, American Economic Liberties

Project, the Electronic Frontier Foundation, Open Markets Institute, and Public Knowledge

(collectively, the “Amici”) moved for leave to file a brief as amici curiae in support of Fubo’s

Motion. See Dkt. Nos. 253, 253-1 (“Amici Br.”). The Amici describe themselves as “five

organizations devoted to advocacy on behalf of consumers and the public interest in the context

of antitrust policy and litigation, as well as other issue areas.” Dkt. No. 253 at 1. The following

day, the JV Defendants opposed the Amici’s motion for leave to file, arguing that the proposed


        28
           The parties originally filed their Joint Pre-Hearing Submission on August 1, 2024 (see Dkt. No.
243) but filed a “corrected” version on August 2, 2024 (see Dkt. No. 250).
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brief was untimely, would prejudice the JV Defendants, and would not be helpful for the Court’s

resolution of the Motion. See Dkt. No. 259. On August 5, 2024, the Court granted the Amici’s

motion to file, finding that the proposed brief had “the potential to aid the Court and ‘offer

insights not available from the parties.’” See Dkt. No. 267.

       In the week prior to the Hearing, the parties filed a flurry of motions and responses

relating to sealing and confidentiality procedures to govern evidentiary and testimonial matters at

the Hearing. See Dkt. Nos. 241 (letter from non-party EchoStar regarding sealing procedures

during Hearing), 255–258 (JV Defendants’ motion to seal certain documents and testimony

during Hearing, and supporting declarations), 261 (EchoStar’s letter in response to JV

Defendants’ motion to seal), 260 (parties’ joint proposed stipulation regarding confidentiality

procedures). On August 5, 2024, the Court held a conference to discuss these issues and rule on

the pending motions, ultimately announcing a procedure to protect highly confidential business

information of the parties at the Hearing that included guidelines as to when documents would be

shown on public screens; when they would be limited to the parties, the witnesses, and the Court;

and when the courtroom would be sealed altogether, if no less-restrictive option were available

to safeguard highly confidential or competitively sensitive information. See Dkt. No. 288. The

Court entered the parties’ Joint Pre-Hearing Stipulation re: Confidentiality Procedures the same

day. See Dkt. No. 275.

       D. The Hearing

       The Hearing began on Tuesday, August 6, 2024, and lasted until August 12, 2024. On

August 6, 2024, after opening arguments from counsel, the Court heard testimony from Mr.

Trautman, Mr. Gandler, and Mr. Mathers. Mr. Mathers continued his testimony on August 7,

2024, and testimony from Mr. Grad, Mr. Marchesano, Mr. Nallen, Mr. Schanman, and Mr. Pitaro

followed. On August 8, 2024, Mr. Horihuela, Mr. Janedis, Mr. Orszag, Mr. Desser, and Mr.
                                                 31
Espinosa testified. Mr. Petitti, Mr. Espinosa (on cross examination), Mr. Campbell, Mr.

Connolly, Mr. Miller, and Dr. Whinston testified on August 9, 2024. In addition to these live

witnesses, the parties submitted approximately five-and-a-half hours of video deposition

testimony in lieu of live testimony from Mr. Padte, Mr. Cheesbrough, Mr. Distad, Mr. Fox, Mr.

Iger, Mr. Lancer, and Mr. Warbrooke. The Court viewed this video testimony outside of court

time during the same week that the live testimony was presented in court.

       Prior to the Hearing, on August 5, 2024, the JV Defendants moved to exclude from the

record the Second Declaration of Mr. Thun, see Dkt. No. 248-27, which Fubo had filed in

support of its Reply. See Dkt. Nos. 273, 274. In their motion, the JV Defendants argued the new

declaration from Mr. Thun was submitted in bad faith in contravention of an agreement Fubo and

DIRECTV had made to not provide testimony from Mr. Thun at the Hearing in exchange for the

cancelling of Mr. Thun’s deposition, and that acceptance of the new declaration would prejudice

them due to their inability to test the assertions within. Id. Fubo and DIRECTV subsequently

opposed. See Dkt. Nos. 276, 278, 282, 283. On August 7, 2024, the Court heard from the parties

and counsel for DIRECTV regarding the JV Defendants’ motion, and denied the JV Defendants’

motion to strike the Second Thun Declaration on August 8, 2024. See Hearing Tr. 374:3–388:8;

523:16–524:17.

       Summations were given on the morning of August 12, 2024, and the parties each

submitted post-hearing briefing that evening. See Dkt. Nos. 285 (“Fubo Post-Hearing Br.”); 286,

287 (“JV Defs. Post-Hearing Br.”). This Opinion and Order followed.

                                         DISCUSSION

       When interpreting a statute that authorizes federal courts to grant preliminary injunctions,

“absent a clear command from Congress, courts must adhere to the traditional four-factor test”



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for a preliminary injunction to issue. Starbucks Corp. v. McKinney, __ U.S. __, 144 S. Ct. 1570,

1576 (2024). The text of Section 16 of the Clayton Act, the statute under which Fubo brings this

Motion, reads in relevant part:

        Any person, firm, corporation, or association shall be entitled to sue for and have
        injunctive relief, in any court of the United States having jurisdiction over the
        parties, against threatened loss or damage by a violation of the antitrust laws,
        including sections 13, 14, 18, and 19 of this title, when and under the same
        conditions and principles as injunctive relief against threatened conduct that will
        cause loss or damage is granted by courts of equity, under the rules governing such
        proceedings, and upon the execution of proper bond against damages for an
        injunction improvidently granted and a showing that the danger of irreparable loss
        or damage is immediate, a preliminary injunction may issue[.]

15 U.S.C. § 26.

        Nothing in Section 16’s text overcomes the presumption that the four traditional

preliminary injunction criteria govern. To obtain a preliminary injunction, therefore, Fubo must

make a clear showing that (1) it is likely to succeed on the merits, (2) it is likely to suffer

irreparable harm in the absence of preliminary relief, (3) the balance of the equities tips in its

favor, and (4) an injunction is in the public interest. Starbucks, 144 S. Ct. at 1575 (citing Winter

v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20, 22 (2008)). For the reasons discussed herein,

Fubo has met all four factors.29




        29
            Fubo’s opening briefing in support of the Motion was filed prior to the Supreme Court’s
decision in Starbucks Corp. v. McKinney, and posited that the Second Circuit’s “serious questions”
standard for the issuance of preliminary injunctions should govern. See Mot. at 8; see also New York ex
rel. Schneiderman v. Actavis PLC, 787 F.3d 638, 650 (2d Cir. 2015) (“A party seeking a preliminary
injunction must ordinarily establish (1) ‘irreparable harm’; (2) ‘either (a) a likelihood of success on the
merits, or (b) sufficiently serious questions going to the merits of its claims to make them fair ground for
litigation, plus a balance of the hardships tipping decidedly in favor of the moving party’; and (3) ‘that a
preliminary injunction is in the public interest.’”) (quoting Oneida Nation of New York v. Cuomo, 645
F.3d 154, 164 (2d Cir. 2011)). On Reply, Fubo maintained that Starbucks did not abrogate the long-
recognized “serious questions” standard. See Reply at 20 n.15. Whichever formulation controls is not
dispositive to the outcome of the Motion, however, because the Court finds that Fubo has shown
“likelihood of success on the merits,” and has therefore necessarily presented “serious questions going to
the merits.”
                                                     33
I.     LIKELIHOOD OF SUCCESS ON THE MERITS

       Ultimately, this case is to be tried by a jury. See Compl. ¶ 340. “To establish a

likelihood of success on the merits, a plaintiff ‘need not show that success is an absolute

certainty. [It] need only make a showing that the probability of . . .prevailing is better than fifty

percent.’” Broker Genius, Inc. v. Volpone, 313 F. Supp. 3d 484, 497 (S.D.N.Y. 2018) (quoting

Eng v. Smith, 849 F.2d 80, 82 (2d Cir. 1988)), appeal dismissed as moot sub nom. Broker Genius

Inc. v. Gainor, 756 F. App’x 81 (2d Cir. 2019); accord M.V. Music v. V.P. Records Retail Outlet,

Inc., 653 F.Supp.3d 31, 41–42 (E.D.N.Y. 2023); Regeneron Pharms., Inc. v. U.S. Dep’t of

Health & Hum. Servs., 510 F. Supp. 3d 29, 41 (S.D.N.Y. 2020). The question the Court must

consider, therefore, is whether a reasonable and properly instructed jury is more likely than not

to rule for Fubo following a trial on the merits. While a full trial has not yet occurred, the parties

have engaged in significant discovery and, at the Hearing, the Court heard five full days of

testimony from 18 live witnesses and seven video deponents, many of whom are likely to testify

at a full trial on the merits, including the parties’ respective experts. The Court has observed

each witness’s demeanor, considered the content of their testimony within the context of the

documentary evidence and entire facts of this case, and heard argument from the lawyers

regarding how the governing law applies to these facts. All this, in addition to the voluminous

briefing submitted by the parties, has informed the Court’s conclusion that Fubo is ultimately

likely to succeed in demonstrating that the JV will substantially lessen competition or tend to

create a monopoly in contravention of this country’s antitrust laws.

       A. The Clayton Act § 7 Claim

       Section 7 of the Clayton Act prohibits transactions whose effect “may be substantially to

lessen competition in any line of commerce in any section of the country.” United States v.

Phila. Nat'l Bank, 374 U.S. 321, 355 (1963) (internal quotation marks omitted); see also 15
                                                  34
U.S.C. § 18. The prohibition may be effectuated prior to the entry into a market of the proposed

combination. See Brown Shoe Co. v. United States, 370 U.S. 294, 346 (1962) (“We cannot avoid

the mandate of Congress that tendencies toward concentration in industry are to be curbed in

their incipiency[.]”). And the prohibition applies to joint ventures as well as traditional mergers

or other business combinations. United States v. Penn-Olin Chem. Co., 378 U.S. 158, 169

(1964) (applying Section 7 to joint venture because “[t]he joint venture, like the ‘merger’ . . .

often creates anticompetitive dangers. It is the chosen competitive instrument of two or more

corporations previously acting independently and usually competitively with one another. . . . If

the parent companies are in competition . . . it may be assumed that neither will compete with the

progeny in its line of commerce.”). The antitrust laws recognize that joint ventures between

horizontal competitors pose particular dangers to competition. As the Supreme Court explained

in Copperweld Corp. v. Independent Tube Corp., 467 U.S. 752 (1984):

       The reason Congress treated concerted behavior more strictly than unilateral
       behavior is readily appreciated. Concerted activity inherently is fraught with
       anticompetitive risk. It deprives the marketplace of the independent centers of
       decisionmaking that competition assumes and demands. In any conspiracy, two or
       more entities that previously pursued their own interests separately are combining
       to act as one for their common benefit. This not only reduces the diverse directions
       in which economic power is aimed but suddenly increases the economic power
       moving in one particular direction. Of course, such mergings of resources may well
       lead to efficiencies that benefit consumers, but their anticompetitive potential is
       sufficient to warrant scrutiny even in the absence of incipient monopoly.

Id. at 768–69.

       Applied to the facts of this case, these principles lead inexorably to the conclusion that a

joint venture between three horizontal competitor programmers, in a market segment with high

barriers to entry and dominated by a relatively small number of companies, who together control

“one-half of the essential product of the industry” in a downstream distribution market, must be

enjoined as anticompetitive. See United States v. Columbia Pictures Indus., Inc., 507 F. Supp.

                                                 35
412, 430 (S.D.N.Y. 1980), aff’d, 659 F.2d 1063 (2d Cir. 1981). Indeed, Columbia Pictures

presents a scenario strikingly similar to this case. At an analogous time of rapid change in the

television and film industry, film studios that controlled just over half of the first-run theatrical

releases (and a higher percentage of so-called “blockbuster” movies) sought to capture a share of

the burgeoning pay TV movie channel market by creating a joint venture that would provide the

films of the partner studios to a jointly owned pay TV channel called “Premiere.” The court

granted a preliminary injunction to block the launch of the joint venture as anticompetitive—a

ruling that was affirmed by the Second Circuit. See id.30

        Before moving on to its analysis, the Court pauses briefly to dispose of one of the JV

Defendants’ primary legal arguments. The JV Defendants argue that the Supreme Court’s

decisions in Verizon Communications Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398,

407 (2004) and Pacific Bell Telephone Co. v. linkLine Communications, Inc., 555 U.S. 438, 442

(2009) control this case and compel the rejection of Fubo’s claims. But the reliance on Linkline

and Trinko is inapt for at least two independent reasons. First, those cases involved actions

brought under Section 2 of the Sherman Act, not Section 7 of the Clayton Act, and primarily

allege specific technical per se violations of the Sherman Act not applicable here. Second,

Linkline and Trinko both involved unilateral conduct by existing and well-established companies,

who operated as lawful monopolies (as a result of a combination of historical accident and




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            The JV Defendants assert that Columbia Pictures is not relevant precedent because the
Premiere joint venture included a provision that the partner studios would not provide their films to any
other pay TV movie channel for the first nine months that the films were available on Premiere. The
Court rejects that view. The decision in Columbia Pictures did not rest solely on the anticompetitive
effects of this “exclusivity” provision; moreover, as discussed further below, the JV in this case also
contains elements of express exclusivity and clear incentives for other types of exclusive dealing. In any
event, as discussed further below, alleged anticompetive conduct (outside of per se illegal conduct not
relevant here) is to be assessed holistically, taking into account all of the particular facts and
circumstances of the challenged combination and the market conditions in which it would operate.
                                                    36
regulatory action), not a new joint venture or concerted action by horizontal competitors.

Specifically, courts have been clear that the “no duty to deal” defense raised by the JV

Defendants in reliance on Linkline and Trinko is not a defense to concerted actions. See, e.g.,

Buccaneer Energy v. Gunnison Energy Corp., 846 F.3d 1297, 1309 (10th Cir. 2017); In re

Dealer Mgmt. Sys. Antitrust Litig., 680 F. Supp. 3d 919, 1004 (N.D. Ill. 2023).

       Finally, many of the JV Defendants’ arguments, both legal and factual, depend upon

asking the Court to look at only one aspect of the JV, one moment in time of the JV Defendants’

dealings with their downstream customers, or one segment of the television market, in isolation.

But this approach finds no support in the antitrust caselaw, outside of the per se technical

violations not at issue in this case. Rather, when assessing whether conduct substantially lessens

competition or tends to restrain trade, “plaintiffs should be given the full benefit of their proof

without tightly compartmentalizing the various factual components and wiping the slate clean

after scrutiny of each. The character and effect of a conspiracy are not to be judged by

dismembering it and viewing its separate parts, but only by looking at it as a whole.” Cont’l Ore

Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 699 (1962) (internal references omitted).

See also Duke Energy Carolinas LLC v. NTE Carolinas II LLC, ___ F.4th___, 2024 WL

3642432, at *11–12 (4th Cir. Aug. 5, 2024) (rejecting piecemeal or siloed approach to antitrust

claims: “exclusionary efforts [must] be considered in their totality”).

               1.      The Relevant Market: The Live Pay TV Market

       To evaluate anticompetitive effects of a joint venture under the Clayton Act, courts must

first determine the relevant market. Brown Shoe Co., 370 U.S. at 324. To do so, courts look to

consumer demand. See PepsiCo, Inc. v. Coca-Cola Co., 315 F.3d 101, 105 (2d Cir. 2002).

Form should not be elevated over substance when determining a market’s contours. See

Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S. 451, 466–67 (1992) (“Legal
                                                  37
presumptions that rest on formalistic distinctions rather than actual market realities are generally

disfavored in antitrust law. This Court has preferred to resolve antitrust claims on a case-by-case

basis, focusing on the ‘particular facts disclosed by the record.’”). Rather, courts should consider

the entire context of the “structure, history and probable future” of the relevant industry. United

States v. Gen. Dynamics Corp., 415 U.S. 486, 498 (1974) (quoting Brown Shoe, 370 U.S. at 322

n.38).

         Fubo proposes three markets for the Court’s consideration of the JV’s potential

anticompetitive effects: (1) the “Skinny Sports Bundle Market,” (2) the “Live Pay TV Market,”

and (3) the “Sports Licensing Market.” See Reply at 20–34. The JV Defendants encourage the

Court to instead look to the broader “Pay TV Market,” which includes not only MVPDs,

vMVPDs, and DTCs, but also SVODs. See Opp. at 38–40. At this preliminary stage of the case,

the Court need not perform a comprehensive market analysis. However, the Court does find,

even on an incomplete record, that the JV Defendants are unlikely to be successful in their

claims that the broader Pay TV Market is the relevant market. The Court also finds, for the

reasons discussed herein, that Fubo has offered evidence sufficient for a finding that it is likely to

succeed in showing that the JV will at least tend to lessen competition in the Live Pay TV

Market.31

         One of the only undisputed issues in this case is that the relevant consumer is the sports

fan who watches, or would like to watch, sports on a live telecast. Consumers of live sports,

however, vary in their preferences. Some sports fans are omnivorous and want to watch as much



          The Court’s preliminary determination here does not exclude the possibility that upon a fuller
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record, narrower or separate markets such as Fubo’s purported Skinny Sports Bundle or Sports Licensing
Markets may be appropriate for the assessment of other antitrust harms. See Brown Shoe, 370 U.S. at 325
(“[W]ithin this broad market, well-defined submarkets may exist which, in themselves, constitute product
markets for antitrust purposes.”).
                                                  38
sports content as possible, regardless of the type of sport or the team playing. For these fans,

MVPDs or vMVPDs which carry the broadest range of live sports may be the best option. Some

sports-watchers are team-loyal, and choose which product they will purchase based on which

product will allow them to watch as many of their favorite team’s games as possible. For these

fans, MVPDs, vMVPDs, and some DTCs (such as YES, for Yankees fans) may all be acceptable

substitutes for one another. And yet another category of sports-watching fans includes those

who have a deep interest in one or two specific sports, either niche sports like F1, cricket, or golf,

or major sports like college basketball. Again, these consumers may be satisfied with a larger

MVPD or vMVPD subscription but may prefer a slimmer DTC option if their preferred sport is

readily available on a DTC for less money.32

        The only current market that serves all these consumers of live sports is the Live Pay TV

Market, which includes traditional MVPDs, vMVPDs, and some limited newer DTCs such as

NFL Sunday Ticket, and YES. MVPDs (both traditional and virtual) tend to have a broader

range of sports programming but also include, due to widespread programmer industry practices,

a required range of non-sports programming that customers must accept and pay for, even if they

are only interested in the sports. A smaller and newer selection of DTC options tend to cost

consumers less but also provide access to a much narrower subset of live sports events. SVODs,

currently, carry very few live sports.33




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            These examples are illustrative and do not necessarily exhaust the various preferences among
all potential watchers of live sports.
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            SVODs include some live sports programming, to be sure. But the key analysis for antitrust
purposes whether the relevant products are “acceptable substitutes.” See PepsiCo, Inc., 315 F.3d at 105
(“Products will be considered to be reasonably interchangeable if consumers treat them as ‘acceptable
substitutes.’”). Because no sports fan who falls into any of the above categories would be able to
purchase a Netflix or Amazon Prime Video subscription and get all the live sports he or she wanted
without also purchasing a MVPD, vMVPD, or DTC subscription, SVODs are not acceptable substitutes
for those services. Thus, the broader Pay TV Market is inapt.
                                                   39
        Just like the relevant market in Columbia Pictures, the current Live Pay TV Market is

highly competitive and in the midst of dramatic change due to technological and demographic

changes. 507 F. Supp. at 418 (describing recent demographic changes leading to pay television

market shifts); see also Hearing Tr. 139:6–10; 406:4–19; 715:12–23. And just like in Columbia

Pictures, in response to these market changes, the JV Defendants—horizontal competitors in the

programming market—have joined together to use their combined market power in the

programming tier to create a joint venture that will allow them to dominate the distribution tier.

For the reasons discussed below, the JV is likely to lessen competition in the Live Pay TV

Market.

                 2.    The JV Defendants Have Granted the JV an Exclusive License to
                       Unbundled Sports Programming

        Even after limited and expedited discovery, it is indisputable that the JV Defendants have

long used the combination of bundling and minimum penetration requirements to make live pay

TV distributors carry content they otherwise would reject, or would only offer based on express

customer preferences, and therefore, those distributors are forced to pass those superfluous costs

on to consumers who, in many cases, also do not want that content, or would not pay for the

content if they had the choice. Now, for the first time ever, the JV Defendants, who are

otherwise competitors both in securing the rights to broadcast live sports and in securing viewers

for their content, are granting a firm a license to unbundled sports content. That firm is their own

JV.

        At the Hearing, multiple Fubo executives testified to their firsthand experience with

mandatory bundling. Mr. Mathers, Fubo’s Senior Vice President of Content Acquisition,

testified that

                                                                                      . See


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Hearing Tr. 202:23–203:6 (“




                                                                                            ”)

Disney likewise r

                 . See Hearing Tr. 287:1–288:1; see also Hearing Tr. 153:12–15 (Gandler Cross:

“Q. You didn’t ask for a broad bundle from Warner Bros., right, sir? // A. We didn’t ask for the

fat bundle. We asked for the skinny bundle that will be provided to Venu, and we were told

no.”).

         Fubo is not alone in navigating these imposed bundling requirements. Mr. Schanman,

Executive Vice President of Video Services for EchoStar (owner of DISH and Sling TV),

testified extensively to his experience negotiating carriage agreements with the JV Defendants.

Mr. Schanman has worked for other distributors in this industry, including industry

heavyweights like Cablevision, Charter Communications, and Comcast, who represent the

largest numbers of viewers in the MVPD space. See Hearing Tr. 427:9–13. In particular, he

testified that



                                                            . See Hearing Tr. 434:10–436:14.

Furthermore, Robert Thun—Chief Content Officer for DIRECTV—submitted a declaration in

support of Fubo’s Motion and

                                      See Dkt. No. 248-27 (“Second Thun Decl.”). In his

declaration, Mr. Thun states



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                               . Second Thun Decl. ¶ 3.

       Indeed, the Court agrees with Mr. Thun and finds the JV Defendants’ denials of the

existence of their bundling practices to be entirely incredible and completely belied by the ample

evidence before the Court that bundling is pervasive in the industry. At the Hearing, Justin

Connolly, President of Platform Distribution for Disney, testified that Disney has historically

sold its networks as a part of a “bundle,” and that it is “common practice in the industry,” that

“every programming group does[.]” See Hearing Tr. 869:15–21.




                                                                   . See Hearing Tr. 877:22–

879:14. Upon further inquiry by the Court, though,




                                                           See Hearing Tr. 879:15–883:8; 886:4–

887:10. These offers and agreements, therefore, were clearly materially different than a true

offer to unbundle sports from non-sports content, on anything remotely similar to the terms that

the JV Defendants will be giving to their own JV.

       The JV Defendants also imply in their arguments to this Court that bundling is not

“imposed” or “forced” because, in their view, no distributor has ever come right out and asked

for a “skinny sports bundle.” Even assuming that were true (and, to be clear, it is a view of the

record that has almost no foundation and is belied by the JV Defendants’ own witnesses’

explanations of how relationships between programmers and distributors work in the market),



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Mr. Grad credibly testified that

                                                                   . See Hearing Tr. 290:15–24

(




                        ); see also Hearing Tr. 163:7–19 (Gandler Cross: “Q. And you didn’t say

to, her whoa, whoa, whoa, I want a skinny sports bundle, right, sir? // A. I did not. // Q. And you

didn’t say, this is unacceptable, right, sir? // A. To her specifically or to her boss? // Q. To either

of them. // A. Well, if you said counsel has provided you with e-mails from Fox, then you should

know that I did ask for specific channels. I was told no. I agreed to accept a full suite of

channels. [. . .]”). Mr. Schanman similarly confirmed that i



          . See Hearing Tr. 436:1–14 (“




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                   ”). It is also common sense that sophisticated negotiating parties do not risk

credibility by asking for something they know is going to be outright rejected by their

negotiating partner, on any terms.

       The record is also clear that if the JV Defendants were willing to unbundle live sports

content, distributors would jump at the opportunity to offer sports-only content and have long

desired to offer such a sports-focused package to their customers. See, e.g., Padte Dep. 152:22–

153:7 (“Q. And the fact that Fubo offers sports channels and also non-sports channels makes it a

differentiator – that’s a differentiator against the JV. Right? // A. To a large extent, the inclusion

of non-sports channels is a restriction imposed by the programmers. It’s not a source of

differentiation that we would unilaterally choose. I think we would like to offer smaller and

skinnier bundles at lower price points.”). In fact, the Court can be confident that Fubo would

offer a skinny sports bundle if it could because, as Fubo’s Content Acquisition Lead Mr.

Marchesano testified, it is already doing so in Canada.

       THE COURT: [. . .] And within Fubo, within its business plans, again, in a
       hypothetical dream world, is Fubo thinking about products to serve different kinds
       of customers?
       THE WITNESS: Absolutely. I can give an example.
       THE COURT: Yes. That would be helpful.
       THE WITNESS: Say in Canada, where we don’t have the similar type of bundling
       requirements, we offer more soccer-specific packages. We offer soccer plus
       general entertainment package. […] We would love to offer hockey, but we are also
       now introducing -- we are trying to build a cricket package out, where we have
       gotten cricket rights. We can offer just a smaller cricket-focused package to
       customers to serve those needs, and if they want to then add general entertainment,
       boom, we can add that on. If they want to add soccer to that, then we can add that
       on. It’s really just giving the customer all of the different options to meet them
       where they are for their watch needs.
       THE COURT: And under your current carriage agreements and current industry
       practices, we have been hearing a lot about, in this trial, in this hearing, if you were
       able to offer all the different products that you think there might be buyers for.
       THE WITNESS: In the U.S. today, no.

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Hearing Tr. 332:22–333:25. While, as noted above, the Court need not (and does not) determine

the legality of programmers’ bundling practices in order to decide the Motion, it is difficult to

avoid the conclusion that, on balance, these practices are bad for consumers. For example, in

Mr. Schanman’s testimony at the Hearing,

                                                                                     . See Hearing

Tr. 441:8–442:10. These mind-bending costs do not just hurt the wallets of sports-loving

consumers by making them pay for non-sports channels they don’t want, but also hurt those

customers who only want entertainment channels but pay significantly higher costs because they

are made to pay for unwatched sports, the most expensive of all content. See Hearing Tr.

444:14–445:17.

       Finally, the record is also unambiguous that the JV will mark the first time that the JV

Defendants are offering their live sports content on an unbundled basis. John Nallen, COO of

Fox, testified as much, and other JV Defendant witnesses and documents reveal that they

understand the fundamental appeal of the JV is this feature: first and only unbundled multi-

channel sports programming. See Hearing Tr. 395:22–396:8; see also PX024 (“Notably, through

this offering the content owners are ‘unbundling’ their channels by offering only the sports-

centric channels in the product.”); PX055 (“Raptor represents the first time we are unbundling

our networks, which presents certain fundamental risks to our core Pay-TV business model”);

Lancer Dep. 24:3–25:6.

       Again, whether bundling is itself illegal under the antitrust laws is not a question

currently before the Court. But what is clear on the current factual record is that bundling has

been uniformly and systematically imposed on each distributor in the live pay TV industry

except the JV, preventing any other distributor from offering a multi-channel sports-focused



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streaming service. As discussed further below, the JV is the vehicle through which the JV

Defendants will capitalize on this opportunity, to potential anticompetitive effects. Because the

Court must scrutinize joint ventures within “structure, history and probable future” of the

particular markets that the joint venture will affect, Gen. Dynamics Corp., 415 U.S. at 498, the

JV Defendants’ bundling practices is crucial context to the ultimate determination of the success

of Fubo’s Section 7 claim.

                 3.      The JV Provides an Anticompetitive Runway for the JV Defendants
                         to Control the Future of the Live Pay TV Market

        As discussed above, the JV Defendants are granting the JV an exclusive right to license

their sports networks unbundled from their general entertainment channels. This exclusive

license allows them to use the JV to “capture demand” in the market: demand that is the

byproduct of their own historical (and ongoing) bundling practices. See PX089 at 15 (internal

Fox marketing strategy document stating: “We are capturing demand, not creating it.”); see also

PX220 (Mr. Connolly, Disney President of Platform Distribution, explaining that the JV “is

primarily about creating and launching a new package which others cannot currently develop and

others likely have significant encumbrances to launch[.]…”). Not only do the JV Defendants

intend to capture this demand, but the JV is structured and incentivized to maximize the extent to

which the JV Defendants keep that demand to themselves.34 Although each JV Defendant

intends to continue to license its own sports programming to other distributors after the launch of

the JV, the JV will: (1) include an explicit three-year agreement among the JV Defendants not to


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           The JV Defendants assert that nothing in the JV term sheet would prevent each JV Defendant
unbundling their own sports content for another distributor in the future and therefore the JV does not
represent an “exclusive” arrangement as to unbundling. See JV Defs. Post-Hearing Br. at 1, 5. Many
things in this world are theoretically possible. But the Court is not required to accept that things are likely
to happen which are not happening now and have never happened in the past, merely because the thing is
not prohibited by any contractual agreement. The assertion is belied by the record in this case and, as
discussed below, by a common-sense assessment of the economic incentives created by the JV.
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invest in other skinny sports bundles; (2) incentivize the JV Defendants to prevent and suppress

other potential sports-oriented-bundles from emerging to compete with the JV and draw away

subscribers; (3) disincentivize the JV Defendants from meaningfully competing with each other

and from entering the market unilaterally; (4) provide the JV Defendants the “backstop” to allow

them to raise prices or enforce onerous bundling and min pen requirements on other distributors

by changing the incentives of each JV participant to “walk away” from distributor negotiations;

and (5) leave the road clear for the JV Defendants to eventually raise prices on consumers. For

these reasons at least, the launch of the JV will tend to lessen competition in the Live Pay TV

market by allowing the JV Defendants an unobstructed runway to establish market dominance

over future submarkets and drive out competitors within the rapidly changing Live Pay TV

Market, all to the detriment of consumers and competition when compared to a world without the

JV.

        First, as part of the binding term sheet for the JV, the JV Defendants entered into an

explicit “Non-Compete” agreement which forbids the JV Defendants from “owning any form of

equity interest, including a revenue-sharing or profit-sharing interest, in a commercial venture,

where the focus of the commercial venture is the operation of a sports-centric vMVPD similar to

the JV Platform . . . for a period of three (3) years from the Launch Date.”35 See PX289 at 17.

This agreement contractually prohibits any of the JV Defendants from joining forces with other

competitor sports licensors—such as CBS and NBC—in order to develop a competing sports-

focused vMVPD. See Warbrooke Dep. 216:5–14 (“Q: So – so give you an example. ESPN for



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            The term sheet also includes an express agreement between the JV Defendants not to distribute
the JV through other third-party MVPDs. See PX289 at 5 (“The JV Platform shall not be licensed to, or
distributed by, any current or former distributor of any JV Network (e.g., MVPDs or vMVPDs), including
affiliated entities, provided that the Members may unanimously agree on specific terms for bundling
and/or resale by MVPD-affiliated platform, mobile, and/or broadband services.”).
                                                   47
three years would be prevented from launching a sports-focused digital MVPD with NBC and

CBS in which ESPN/Disney have an equity stake. Is that fair? // A: That is correct. So we could

not – we could not do carriage deals with CBS and NBC and run a compete – competing digital

MVPD for this three-year period.”). This non-compete agreement does not prevent the JV

Defendants from licensing their programming to other MVPDs and vMVPDs and carves out a

specific exception for DTCs launched by the JV Defendants (so that Disney can continue with its

plans to launch ESPN Flagship in 2025, but could not convert ESPN Flagship into a multi-

channel sports service that also included non-Disney sports programming). Before it was written

down, however, the agreement originated in a phone call in late January 2024 in which the JV

Defendants agreed that they “would all stay clear of a Raptor-like platform[.]” See PX053; see

also Hearing Tr. 402:24–403:2 (Nallen Direct: “Q. You, Mr. Pitaro, and Mr. Campbell agreed on

a phone call in late January 2024 that you would all stay clear of a Raptor-like platform, isn’t

that true sir? // A. That’s true.”).

        Furthermore, the three-year period is also consistent with the same time horizon on which

other carriage agreements with the JV Defendants expire. Thus, even if the JV Defendants were

willing to offer to license their sports programming on fully unbundled terms to other

distributors, many of those distributors will remain contractually obligated to continue to offer

bundled content to a majority of their subscribers during the pendency of this non-compete,

while at the same time the JV enjoys the benefits of offering exclusive live sports-only content

without competition (including from one another). In the Live Pay TV market in which live

sports rule, this could put these distributors at a significant disadvantage and provide the JV

Defendants with an unobstructed runway to dominance. See PX028 (Internal Fox email:

“Basically [Charter, Comcast, DIRECTV, Hulu, and YouTube TV are] the only one’s [sic] with



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enough leverage to really push us, plus most operators by the time they renew won’t be big

enough to really matter.”) (emphasis added). An explicit agreement with such significant

“anticompetitive potential” “warrant[s] scrutiny even in the absence of incipient monopoly,” and

should be analyzed in the context of the JV Defendants’ other concerted conduct. Copperweld

Corp., 467 U.S. at 769; see also In re Keurig Green Mountain Single-Serve Coffee Antitrust

Litig., 383 F. Supp. 3d 187, 244 (S.D.N.Y. 2019) (“competitive landscape” is “directly related”

to anticompetitive effects of agreement).

       Second, even absent any explicit agreement, the existence of the JV itself incentivizes the

JV Defendants to prevent and suppress other potential sports-focused bundles from meaningfully

competing, and the JV Defendants have the market power to follow through on these incentives.

The JV Defendants know the unique value of their unbundled sports programming and are aware

that any other competitor offering such unbundled live sports will devalue the JV. See PX019

(Paul Cheesbrough email to John Nallen: “Things we’re trying to avoid: . . . Anything that can

offer competing features or functions to the sports fan around a material set of content e.g. a

dedicated sports product, that can be marketed head on against Raptor.”) (emphasis in original).

Indeed, the JV Defendants described the prospect of distributors seeking unbundled sports

content after the JV launches as a “risk” to the JV’s value. See Lancer Dep. 27:14–28:3

(discussing the “risk” that distributors will insist on trying to replicate the JV’s unbundled

content). In the inception of the JV, the JV Defendants even discussed a “Potential Path,”

wherein they would “ensure that all [JV Defendants] can’t break their linear channels and

streams to be re-bundled into other services,” because it would “stop[] others combining the user

experience into a single place like Raptor is attempting to – it maintains Raptor’s uniqueness to

the sports fan.” PX019 (emphasis added). These documents and testimony support the



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common-sense notion that the JV Defendants—in owning, launching, and investing in the JV—

will be materially incentivized to act (whether explicitly coordinated or not) to prevent others

from diminishing the value of their investment.

       Third, the JV may tend to lessen competition because it disincentivizes the JV

Defendants from meaningful competition against each other. The JV Defendants control a

significant amount of the content that would be necessary for any meaningful competitor to the

JV. For such a competitor to emerge, in all likelihood one or more of the JV Defendants would

have to be involved in launching it, whether by agreeing to fully unbundle their sports channels

for another distributor, or launching a DTC/MVPD hybrid service themselves that would feature

their own sports channels alongside licensed sports channels from other programmers.

Executives within the JV Defendants, being astute businessmen, recognized this dynamic as the

JV began to take shape. On January 4, 2024, as the term sheet was being finalized, Mr. Nallen

(Fox COO) wrote in response to Mr. Lancer’s concerns about intra-JV Defendant competition:

“Don’t know why they would really want to compete with a platform they [are] putting $300m

each into. Don’t overthink this one.” See PX015; see also Hearing Tr. 403:19–405:9. Another

Fox executive, Mr. Cheesbrough, testified in his deposition that potential competition between

the JV Defendants could “dilute devaluing the offering around Raptor. And given the money we

were proposing to invest in that joint venture, we felt that was a risk that we really kind of

wanted to understand or mitigate.” Cheesbrough Dep. 215:2–16. It does not require executive-

level acumen to conclude, however, that once the JV is launched, the JV Defendants’ incentives

will not be aligned toward competition among themselves or competition between potential

unilateral offerings and the JV. They will want to ensure their investment succeeds.




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       Fourth, the JV provides the JV Defendants with a comfortable “backstop” in

negotiations, which will leave them able to raise prices or enforce additional bundling

requirements on other distributors by changing the incentives of each JV participant to “walk

away” from negotiations. As noted above, carriage agreements in the current pay TV ecosystem

are typically the subject of hard-fought negotiations, with both programmer and distributor

seeking the best deal for themselves, and, as relevant here, programmers incentivized not to end

negotiations without a deal because they do not wish to risk the total loss of the distributor’s

viewers. A world with the JV will materially change those incentives. The JV will offer

consumers an option to receive their must-have live sports content at a fraction of the cost of

what current MVPDs and vMVPDs can offer. The JV Defendants will receive affiliate fees and

advertising revenue generated from every subscriber to the JV. Because of the central

importance of live sports to the MVPD customer, the JV Defendants dramatically increase their

leverage in negotiations with MVPDs once the JV is launched. If MVPDs are unwilling to pay

the price demanded for the JV Defendants’ sports programming, in the but-for world where the

JV exists, the JV Defendants know that they will not lose all of the MVPD’s customers if they

walk away from the negotiations: many of those otherwise “lost” customers could be recaptured

by the JV. Mr. Schanman provided the Court with a firsthand accounting of this dynamic in his

testimony at the Hearing. See Hearing Tr. 449:13–450:5.

       Indeed, on the record before the Court, this does not appear to be a theoretical dynamic.

The JV Defendants expect at least 50% of the JV’s subscribers will be “trade downs,” from

existing MVPD or vMVPD services. See supra n.15. And while the JV Defendants claim the

JV will only attract approximately 5 million subscribers by 2028, see Hearing Tr. 392:18–21;

483:15–22, that number is based only on a comparison to Hulu + Live TV and tends to



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contradict the JV Defendants’ own commissioned research studies which indicate that a skinny

sports offering like the JV will have significantly broader appeal. See JX013; JX014; PX255;

PX275.36 Furthermore, although the JV Defendants urge that they do not want to cannibalize

MVPD subscribers because that would hurt their bottom line, the structure of the JV incentivizes

the collection of subscribers regardless of where in the live pay tv ecosystem those subscribers

come from. For example, half of the annual bonus of the JV’s CEO, Mr. Distad, is dependent on

“Subscriber Goal Attainment,” and most of the rest is driven by revenue numbers rather than

profit numbers. See PX069 at 18; see also Distad Dep. 25:17–26:20. If Mr. Distad achieves 9

million subscribers by 2027, he receives 800% of his base bonus. Distad Dep. 32:4–33:16. He

does not get paid less if any proportion of those subscribers leave their MVPD subscriptions to

“trade down” to a subscription to the JV; his compensation package counts all subscribers the

same. In addition, the JV partners have agreed to split any profits evenly in thirds, even though

the channels contributed by each JV Defendant differ greatly in value. See JX045 at 6 (“Upon

consummation of the Closing (as defined below), each Member shall hold an equal initial

ownership interest in the Joint Venture (‘JV Interest’) of 33 1/3%.”). This arrangement makes

economic sense only if the JV Defendants do not expect the JV to make a significant profit as a

stand-alone business; the economic proposition for the JV Defendants is to earn back their

investment, and then some, through affiliate fees (and, to a lesser extent, from controlling 100%

of advertising minutes on channels shown by the JV). Affiliate fees come from subscribers, and


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           There are indications in the record that the JV Defendants do not really believe their own
estimate, or that such a lowball estimate stretches reason. See, e.g., Dkt. No. 248-142 (admitted into
evidence as PDX-938) (Internal WBD email to Mr. Campbell: “Since we’re talking about a 5M # (which
I think he threw out there to try to allay concerns the JV product would drive a ton of incremental cord
cutting)”); PX026 at 11 (“[W]e fully anticipate the service will have an impact on consumers opting to
trade down to a skinnier bundle at a lower price[.]”); see also Hearing Tr. 925:9–11 (Connolly Cross:
“THE COURT: And ESPN+, if I understand correctly, has approximately 25 million subscribers, right? //
THE WITNESS: That’s correct, yes.”)
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the more subscribers the better. The JV will face essentially no pressure to achieve profitability

as an independent business, so long as it continues to attract subscribers in ever-growing

numbers. All this indicates that the JV’s design will significantly lessen the negotiating power of

existing MVPDs and vMVPDs, further limiting any potential competition with the JV, and

altering the market in an anti-competitive direction.

       Fifth, the JV may eventually allow the JV Defendants to raise prices directly for

consumers, unchecked by meaningful competition. If the JV Defendants are able to use the

runway granted by the JV Defendants’ past (and current) bundling practices, the three-year non-

compete period to maintain the uniqueness of the JV as a consumer offering (and indeed likely

eliminate competitors that exist in the market today), they may have an unchecked ability to raise

prices to the limit of consumer tolerance. The JV Defendants recognized the immense value of

this first mover advantage in a rapidly changing market. See JX003 (Email from Mr. Espinosa:

“Large pay tv operators would ultimately get unbundling rights as a result of Raptor[.] . . .

However, it would take them time to secure and take advantage of that flexibility. In the

meantime, Raptor could have an opportunity to attract subscribers and gain scale.”). In their

discussions in forming the JV in December 2023, they specifically envisioned an offering in

which the JV would be “$50 expected retail price at launch, with price increasing ~$5 each

subsequent year[.]” See JX059 (emphasis added); see also Fox Dep. 147:23–148:16 (“Q: Do

you believe that the joint venture if it launches will be able to increase its price by $5 per year

without significant subscriber loss? // A: I believe it’s possible because if you look at our actual

full model, we are not assuming a huge number of subscribers. // Q: And do you believe that the

joint venture will be able to increase its price by $5 without significant churn? // A: There will be

some churn, especially because it’s a, you know, sports-focused JV, and so as I mentioned, in the



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summer, there aren’t as many sports events, so churn is unavoidable. But I do believe that there

is room for price increases.”).

        For Fubo to succeed in its Section 7 claim, it is not required to prove with certainty that

all of the above anticompetitive risks will come to fruition, or that the JV Defendants “intended”

in forming the JV to profit from any such anticompetitive effects. See Frank H. Easterbrook, On

Identifying Exclusionary Conduct, 61 Notre Dame L. Rev. 972, 977 (1986) (“Objective

indicators, not intent, are what matter.”). It need only show that the effect of the JV may be to

“substantially to lessen competition, or to tend to create a monopoly” in “any line of commerce.”

15 U.S.C. § 18; see also Columbia Pictures Indus., Inc., 507 F. Supp. 412. Because, on the

record before the Court, the evidence is overwhelming that at least one of the above-described

aspects of the JV will tend to produce anticompetitive effects in a relevant market, the Court

finds that Fubo is likely to succeed on the merits of this claim.

        B. The Sherman Act § 1 Claim

        In pursuit of its alternative remedy of an injunction prohibiting the JV Defendants from

enforcing the bundling, packaging, and penetration requirements in their carriage agreements

with distributors, Fubo asks the Court to determine its likelihood of success in proving that these

restraints constitute unlawful “tying” under Section 1 of the Sherman Act. See Mot. at 20–23;

Reply at 44–45. Because the Court herein finds Fubo is likely to succeed on the merits of its

Section 7 claims and grants the primary preliminary injunction Fubo seeks, the Court declines to

analyze its Section 1 claim further.37 See 725 Eatery Corp. v. City of New York, 408 F. Supp. 3d


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            Furthermore, the Court noted on multiple occasions—including during the Initial Pretrial
Conference, the numerous discovery conferences preceding the Hearing, and once more at the Hearing—
that Fubo’s Section 1 tying claims do not constitute an emergency and therefore should not be addressed
on a motion for preliminary injunction. See, e.g., Hearing Tr. 382:17–383:2 (“THE COURT: [. . .] I think
we have all agreed the lawfulness -- in the sense of the claim in Fubo’s complaint that that conduct is per
se illegal, tying, -- is not something we are going to decide in this hearing because it is not -- it doesn’t
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424, 459 (S.D.N.Y. 2019) (“Plaintiffs need not demonstrate a likelihood of success on the merits

of every claim—rather, they need only show a likelihood of success on the merits of at least one

of [their] claims.”) (internal quotation marks omitted). The Court likewise declines to grant

Fubo’s alternative remedy as the appropriate way to remediate the potential Clayton Act § 7

claim. Not only is the temporary enjoining of the JV’s launch an adequate remedy on that claim,

but the Court also agrees with the JV Defendants and antitrust precedent that courts should avoid

involving themselves in re-ordering the complexities of the ongoing contractual and business

relationships among market participants. The Court is not a central planner. If bundling (as to

Fubo specifically or as a general industry practice) is to be struck down as an antitrust violation,

it should come only after a full trial on the merits.

II.     IRREPARABLE HARM

        All parties agree that “[i]rreparable harm is ‘the sine qua non for preliminary injunctive

relief.’” trueEX, LLC v. MarkitSERV Ltd., 266 F. Supp. 3d 705, 726 (S.D.N.Y. 2017) (quoting

USA Recycling, Inc. v. Town of Babylon, 66 F.3d 1272, 1295 (2d Cir. 1995). “To prove

irreparable harm, the movant must demonstrate an injury that is neither remote nor speculative,

but actual and imminent and that cannot be remedied by an award of monetary damages.” Id.

(internal references omitted). The Court finds that the JV’s risk of imminent harm to Fubo and

to consumers justifies a preliminary injunction.

        A. The JV’s Imminent and Irreparable Harm to Fubo

        Fubo has made a clear showing that it will suffer imminent and irreparable injury if this

Court does not enjoin the JV from launching until a full trial on the merits can be held. It is well-


meet the standards for PI in terms of emergency. It’s existed for a long time. Obviously the fact of
bundling is very relevant to the factual context of this case in which the Court has to decide whether the
proposed JV violates the antitrust laws and that decision is being made in a factual context of how the
industry works and how the defendants have conducted their business.”).
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settled law in this Circuit that a “threat to the continued existence of a business can constitute

irreparable injury,” necessitating a preliminary injunction. Id. at 725 (quoting Nemer Jeep–

Eagle, Inc. v. Jeep–Eagle Sales Corp., 992 F.2d 430, 435 (2d Cir. 1993)); see also Tom Doherty

Assocs., Inc. v. Saban Ent., Inc., 60 F.3d 27, 37 (2d Cir. 1995) (“We have found irreparable harm

where a party is threatened with the loss of a business.”); Stellar Beach Rentals, LLC v. Redstone

Advance, Inc., No. 23-cv-955 (VSB), 2023 WL 4421809, at *3 (S.D.N.Y. July 8, 2023)

(“[W]hen the potential economic loss is so great as to threaten the existence of the moving

party’s business, then a preliminary injunction may be granted[.]”) (quoting 11A C. Wright, A.

Miller, & M. Kane, Federal Practice and Procedure § 2948.1, p. 157 (3d ed. 2013)); Haymount

Urgent Care PC v. Gofund Advance, LLC, No. 22-CV-1245 (JSR), 2022 WL 836743, at *3

(S.D.N.Y. Mar. 21, 2022) (finding a “material risk of the business’s collapse” sufficient for

showing of irreparable harm).

        The JV Defendants offer three main arguments in response to Fubo’s charges of

imminent harm. First, they assert Fubo’s claims of irreparable harm lack credibility. See JV

Defs. Post-Hearing Br. at 8; Hearing Tr. 1115:23–1116:1; 1117:7–9 (JV Defendants’

Summation). Second, they say Fubo’s alleged harms are the result of its own “weak” business,

and that its failure is likely imminent regardless of any action by the JV Defendants. See Opp. at

53–54; JV Defs. Post-Hearing Br. at 9. Lastly, they argue that even if the JV will harm Fubo in

the short term, those harms are compensable with money damages at the conclusion of this

litigation, and thus do not justify an injunction at this preliminary stage. See Opp. at 61–62; JV

Defs. Post-Hearing Br. at 8. All three arguments fail.38


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           The JV Defendants also argue that any harm to Fubo from the JV is the result of legitimate
competition at work. See Opp. at 54–55. However, since the Court herein finds that Fubo is likely to
succeed on its Section 7 claims, it is also likely that any such competition posed by the JV is contrary to
the antitrust laws.
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               1.      Fubo’s Forecasts of Imminent Irreparable Harm are Credible

       Fubo has submitted sworn declarations, live witness testimony, ordinary course business

documents, and statistical data all uniformly evidencing that the launch of the JV will precipitate

the imminent downfall of its business. Fubo’s specific predictions are that the JV’s expected

launch in late August will cause it to lose approximately 300,000 to 400,000 (or nearly 30%) of

its subscribers, suffer a significant decline in its ability to attract new subscribers, lose between

$75 and $95 million in revenue, and be transformed into a penny stock awaiting delisting from

the New York Stock Exchange, all before year-end 2024. At the Hearing, Fubo’s CEO David

Gandler summarized this chain reaction of events:

       [W]e will very quickly lose customers because [the JV] is launching into the most
       important time of the year for us. Once we lose customers, we’ll have to revise our
       guidance down. Once we revise our guidance down, the stock will plummet below
       $1. We will be delisted. We won’t be able to service our debt. KPMG will issue a
       going concern, and we’ll find ourselves very quickly in bankruptcy court, Chapter 7.

Hearing Tr. 127:15–22. Fubo’s CFO likewise testified the JV would cause Fubo to “lose a

significant number of subscribers. . . . [T]hat has an impact on our revenue, and ultimately, that

would likely lead to insolvency.” Hearing Tr. 592:24–593:5; see also Janedis Decl. ¶¶ 25–45.

The Court found these statements credible and reliable based on these witnesses’ backgrounds as

experienced businesspeople, the Court’s observation of their demeanor, and the internal

consistency and coherence of the totality of their testimony.

       But the Court does not base its finding of irreparable harm solely on the statements of

Fubo’s insiders, no matter their credibility. Ample documentary evidence kept in the ordinary

course of Fubo’s business corroborates Mr. Gandler’s and Mr. Janedis’ testimony. The record is

replete with unrebutted evidence that Fubo successfully markets itself as a sports-focused

vMVPD to a sports-focused audience. Specifically, Fubo uses digital marketing such as Google

Search to promote its services in connection with specific live sporting events or seasons. See
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Hearing Tr. 528:9–13; 533:1–24. The vast majority of Fubo’s customers come from its seven-

day free trial offer, 70% of which join Fubo for a sports-related broadcast. See Hearing Tr.

532:2–19; 534:5–10. Moreover, on major sports days, Fubo’s free trials spike dramatically,

often just before the start time of the sporting event. See Hearing Tr. 536:11–539:2. For

example, on November 25, 2023, two major college sports games were broadcast: Michigan vs.

Ohio State (on FOX), and Georgia vs. Georgia Tech (on ABC). That day, 143,117 customers

signed up for free trials of Fubo. See Hearing Tr. 538:10–23; PX203. On average, Fubo gets

only approximately 20,000 free trials per day, and on a day with no live sports broadcasts, that

number typically drops closer to 5,000. See Hearing Tr. 538:22–539:2.

       Fubo closely tracks its customers’ “first views,” which is the first program that Fubo’s

new subscribers watch for at least five minutes following their first encounter with Fubo

(whether through an initial free trial or signing up for a paid subscription). See Hearing Tr.

539:15–19; see also Hearing Tr. 540:1–3 (Horihuela Direct: “Q. [. . .] Is first-view data

something that Fubo tracks in the ordinary course of its business? // A. Yes, we tracked this for

many years now.”). 80% of all first views are live sports programming. See Hearing Tr.

540:20–24; see also Hearing Tr. 541:1–5 (Horihuela Direct: “Q. And how do you determine

what counts as a sports program for purposes of allocating first views? // A. A sports program

will be anything that is a live game or a rerun of a game or, you know, a sports-centric program,

such as Sports Center, for example.”). Fubo also tracks its customers’ “longest views” as a “gut

check” on the accuracy of its first view data. See Hearing Tr. 543:4–12. “Longest views”

measures the program that is watched the longest within the first 24 hours after a customer first

logs into Fubo. Id. The share of Fubo’s customers whose first view is a live sports program is




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extraordinarily closely correlated to the proportion of Fubo’s customers whose longest view is a

live sports program, often only deviating within a percentage point, if at all. See PX179.

       Fubo’s ordinary course data reveals not only that most customers join Fubo to watch

sports programming, but also that they stay for sports programming, and then sometimes leave

when their particular sports season is over. Approximately 75% of Fubo’s free trials occur

during football season, from September to February. See Hearing Tr. 543:17–535:3. Moreover,

customers join Fubo specifically to watch the JV Defendants’ sports content. From July 2023 to

June 2024, covering a full year of multiple sports seasons, 48% of first views were of Disney or

Fox sports programming. See Hearing Tr. 541:23–542:7. During football season, that number

exceeds 50%. Id. And after football season concludes, a significant number of customers tend

to cancel their subscriptions. See Hearing Tr. 535:24–536:3. When football starts back up again,

a corresponding number tend to reactivate their subscriptions, see Hearing Tr. 550:18–551:19;

553:2–12, and so the cycle continues. This cyclical phenomenon is called “seasonality,” and

reflects the sports-focus of most Fubo customers. Seasonality also inevitably leads to subscriber

“churn,” which refers to the proportion of existing subscribers who cancel their Fubo

subscription. See Hearing Tr. 616:24–617:2.

       At bottom, this data bolsters Fubo’s showing of irreparable harm: consistently and

fundamentally reinforcing, in various ways, that Fubo’s customers care particularly about live

sports, and they are driven to Fubo primarily for its sports—not entertainment—programming.

More specifically, even, it reveals that a meaningful number of subscribers care about accessing

the live sports on the JV Defendants’ networks. Because this data was kept in the ordinary

course of Fubo’s business for years and used to inform its own strategic and marketing decisions,

the JV Defendants’ claims that Fubo’s complaints in seeking this preliminary injunction are



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pretextual or otherwise “made for litigation” fall flat. Rather, the data strongly corroborates

Fubo’s claims that the JV will have an outsized effect on its business and that its projections of

imminent insolvency are not unsubstantiated. These documents and the related testimony clearly

support the common-sense conclusion that when the JV launches as an option for customers to

get those networks at half of Fubo’s price, they will have little to no reason to choose a Fubo free

trial over a JV one.39

                2.       Fubo’s Historical Unprofitability Does Not Invalidate Its
                         Showing of Imminent Harm

        The JV Defendants next argue that Fubo’s harms are not the result of the JV but are

instead the consequences of Fubo’s status as a “weak competitor.” See Opp. at 1, 53; JV Defs.

Post-Hearing Br. at 9. They argue that “Fubo’s precarious financial condition predates the JV,”

and that its “‘self-inflicted’ wounds are not irreparable harm.” JV Defs. Post-Hearing Br. at 9.

But Fubo has made a clear showing that its imminent risk of insolvency and collapse is not its

own doing but the JV’s, and the JV Defendants have offered no support for the implication that

only sturdy and well-established firms are entitled to the protection of the antitrust laws.

        True, Fubo has never been profitable. Fubo does not dispute this. See Hearing Tr.

589:4–5 (Janedis Direct: “Q. Now, is Fubo currently profitable? // A. Currently, no, Fubo is not

profitable.”). Unlike other, more-established distributors in the market like DIRECTV or DISH,

Fubo has only existed for nine years. And unlike other relatively new vMVPDs such as




        39
           The Court is unpersuaded by the JV Defendants’ reliance on Mr. Gandler’s immediate public
comments following the announcement of the JV, or his internal pep talk to his executives around the
same time. See Hearing Tr. 176:22–177:7; 177:14–178:22. After the details of the JV were known and
Fubo had time to use its own data to analyze the likely effect of the JV’s launch, Fubo disclosed the
imminent risk of insolvency to its shareholders and the investing public, and Mr. Gandler filed a sworn
declaration in this litigation. See Dkt. Nos. 102, 103; Hearing Tr. 596:13–23 (Mr. Janedis, Fubo CFO,
testifying that Fubo disclosed the imminent risk of insolvency to Fubo investors in both “SEC filings and
earnings releases” after the announcement of the JV).
                                                   60
YouTube TV or Hulu + Live TV, Fubo does not have a giant conglomerate parent company at its

helm. Fubo is essentially a startup and, having gone public only four years ago, remains in its

relative infancy.40

        Fubo credibly anticipates, though, that profitability is just around the corner. See Hearing

Tr. 589:9–11 (Janedis Direct: “Q. And when does Fubo expect to become profitable? // A. We

currently expect to become profitable in 2025.”). This prediction was not fabricated for this

litigation; Fubo announced it to shareholders back in August 2022. See Hearing Tr. 589:18–21;

see also FuboTV 2022 Investor Day Webcast (August 16, 2022) available at

https://ir.fubo.tv/events-and-presentations/event-details/2022/FuboTV-2022-Investor-

Day/default.aspx (last accessed August 15, 2024) (Mr. Janedis stating, “[w]e continue to work

towards our long-term targets of adjusted EBITDA profitability and positive cash flow in 2025”).

The very same morning Fubo’s CEO David Gandler testified in this proceeding, Mr. Gandler

announced Fubo’s most successful quarter ever and further reiterated in an earnings call with

investors that, absent the launch of the JV, it is expected to become profitable within the next

year. See Hearing Tr. 126:18–127:8. Fubo executives, like those of all publicly traded

companies, owe duties under the securities laws to make truthful statements to the market.




        40
           For comparison, it took Uber 15 years to turn a profit. See Andrew J. Hawkins, “Uber ends the
year in the black for the first time ever: The once perennially unprofitable company has finally found its
financial footing,” THE VERGE (Feb. 8, 2024), available at https://www.theverge.com/2024/2/8/24065999
/uber-earnings-profitable-year-net-income (last accessed Aug. 15, 2024) (“For the first time in its history,
Uber ended the year having made more money than it spent on its ride-hailing and delivery operations.
As noted by Business Insider, the company reported an operating profit of $1.1 billion in 2023, compared
to a $1.8 billion loss in 2022.”). Similarly, Netflix was not profitable for its first six years. See Daniel
Pereira, “Is Netflix profitable?,” THE BUSINESS MODEL ANALYST (Mar. 16, 2023) available at
https://businessmodelanalyst.com/is-netflix-profitable/ (last accessed Aug. 15, 2024). And Spotify did
not turn a profit for more than 12 years after its founding and returned to posting losses soon after its first
profitable year. See, e.g., “Why Did It Take So Long for Spotify to Turn a Profit?,” NASDAQ (Mar. 9,
2019) available at https://www.nasdaq.com/articles/why-did-it-take-so-long-spotify-turn-profit-2019-03-
09 (last accessed Aug. 15, 2024).
                                                      61
       Even ignoring these insiders’ public statements, Fubo’s internal model for predicting

subscriber trends (and therefore its predicted revenue and cash flow) indicates that Fubo’s

expectations of profitability by 2025 are credible. At the Hearing, Fubo put forward significant

evidence that its internal models of subscriber growth have a proven track record of accuracy.

Since 2022, Fubo’s internal forecasts of subscriber data had an average variance of only 6% from

guidance provided to investors, and often exceeded the guidance. See Hearing Tr. 588:7–17.

Given its historic reliability and the fact that Fubo has no reason to keep inaccurate data for its

own internal analyses, the Court gives this evidence significant weight.

       In the face of the testimony, public statements to the market, and internal ordinary course

data, therefore, the JV Defendants cannot make a satisfactory showing that Fubo stands on the

precipice of bankruptcy absent the launch of the JV. Moreover, Fubo need not show it will

achieve any particular metric of extraordinary success absent the JV, so long as it can show that

it would be a going concern absent the launch and likely will not be one for long following the

launch. The record is clear that the causal engine of Fubo’s predicted demise is the launch of the

JV, and an injunction must therefore issue because “[i]t is well settled in this circuit that [m]ajor

disruption of a business can be as harmful as termination[.]” trueEX, LLC, 266 F. Supp. 3d at

726–27 (internal references omitted).

               3.      Fubo’s Harms Cannot be Adequately Compensated by Monetary
                       Damages

       Fubo has made a credible showing that, if the JV is permitted to launch, its business will

likely cease to exist shortly thereafter. The JV Defendants’ final argument fails, therefore, for

the simple reason that this harm is exactly the kind that money cannot repair.

       The caselaw in this Circuit is clear that money is not a remedy for the total collapse or

likely insolvency of a business. See Nemer Jeep-Eagle, Inc., 992 F.2d at 436 (“money damages


                                                 62
are inadequate compensation” for a threat to “continued existence” of business); Roso-Lino

Beverage Distribs., Inc. v. Coca-Cola Bottling Co. of New York, 749 F.2d 124, 126 (2d Cir.

1984) (“The loss of . . . an ongoing business representing many years of effort and the livelihood

of its husband and wife owners, constitutes irreparable harm. What plaintiff stands to lose cannot

be fully compensated by subsequent monetary damages.”); Semmes Motors, Inc. v. Ford Motor

Co., 429 F.2d 1197, 1205 (2d Cir. 1970) (“But the right to continue a business . . . is not

measurable entirely in monetary terms; the Semmes want to sell automobiles, not to live on the

income from a damages award.”). Courts have likewise found money inadequate to compensate

parties for other similarly disastrous harms Fubo forecasts as consequences from the JV’s launch,

such as delisting from the NYSE and the resulting difficulties raising necessary capital. See, e.g.,

Grand River Enter. Six Nations, Ltd. v. Pryor, 481 F.3d 60, 67 (2d Cir. 2007); Norlin Corp. v.

Rooney, Pace, Inc., No. 84 Civ. 0298 (DNE), 1984 WL 892, at *2 (S.D.N.Y. Apr. 16, 1984),

aff’d, 744 F.2d 255 (2d Cir. 1984).

        These cases uniformly instruct the Court that the prudent course of action in the face of

the injuries Fubo faces is not to deny Fubo an injunction now, expecting that it will receive

money damages later should it ultimately prevail, but to maintain the status quo pending the

resolution of this lawsuit.41




        41
            The JV Defendants argue in passing that, because Venu is a joint venture with a nine-year
initial term rather than a merger, the Court need not enjoin it now because it “can be unwound relatively
easily” if Fubo is eventually successful after a full trial on the merits. See Opp. at 15, 53. But the
unwindability of the JV is neither here nor there. As discussed, Fubo is entitled to an injunction because
its imminent harms cannot be later repaired with money. The relative ease of the dissolution of the JV,
even assuming the truth of that assertion, is therefore of little solace to Fubo and of little relevance to the
Court.
                                                      63
        B. The JV’s Potential for Harm on Competition and Consumers

        Although this is Fubo’s Motion, and thus its burden alone to bear, because this is an

antitrust action the Court also weighs the risks of irreparable harm to consumers in allowing an

anticompetitive JV to enter the market prior to full resolution of the merits of this litigation. See

New York ex rel. Schneiderman, 787 F.3d at 661 (2d Cir. 2015) (“Threaten[ed] economic harm

to . . . consumers . . . is plainly sufficient to authorize injunctive relief.”) (quoting California v.

Am. Stores Co., 495 U.S. 271, 283 (1990)).

        Even on the preliminary record before the Court, it is apparent that competition and

consumers may be harmed if the JV launches before its permissibility under the antitrust laws is

conclusively determined. As discussed above with respect to Fubo’s likelihood of success, the

JV has at least the potential to fundamentally harm competition and consumers by allowing

horizontal competitors to coordinate rather than compete, and to monopolize a segment of the

market they created and now control as a result of their longstanding business practices; and by

creating incentives for each JV Defendant to raise prices to distributors for their programming

rather than fairly negotiate as parties who both have something to lose. As the Amici point out

in their submission, these consequences greatly increase the risk that consumers will be

vulnerable to price increases, decreased quality, and decreased options in the market. See Amici

Br. at 12–15.

III.    THE BALANCE OF THE HARDSHIPS

        In assessing the balance of the equities factor, the Court must determine whether Fubo

would “suffer decidedly greater harm from an erroneous denial of an injunction than the

defendants would suffer from an erroneous grant.” trueEX, LLC, 266 F. Supp. 3d at 725.

Absent an injunction, Fubo has made a clear showing that it faces imminent subscriber loss,

likely followed by bankruptcy, delisting, and the collapse of its business. Should an injunction
                                                   64
wrongly issue, however, the JV Defendants face a mere delay in the launch of their JV. To be

sure, the JV Defendants have invested substantial resources in the JV and will not be able to

capitalize on any such investment unless and until the preliminary injunction is lifted. But the

JV Defendants offered no witness testimony or documentary evidence on the harms (economic

or otherwise) that they may face from any such delay. Apart from obvious, general conclusions,

such as the fact that it would be comparatively better, one assumes, for the JV to launch prior to

the NFL season rather than after and that it is generally better to have money in the bank now

than later, the Court cannot divine a quantifiable harm to the JV Defendants where the record

illuminates none.42 Because the evidence shows that Fubo “risks sustaining serious and likely

unquantifiable economic injury to its business,” and the JV Defendants do not, the balance of the

hardships tips firmly in Fubo’s favor. Id. at 726.

IV.     THE IMPACT ON THE PUBLIC INTEREST

        In analyzing the fourth and final factor, the Court must ensure that “the public interest

would not be disserved by the issuance of a preliminary injunction.” Id. (internal references

omitted). The injunction sought by Fubo will not harm the public interest. On the contrary,



        42
            In their Post-Hearing Brief (which the Court only permitted on the eve of the Hearing, long
after the JV Defendants had filed their Opposition brief, and contrary to its previous advice that the
parties should assume there would be no post-hearing briefing), the JV Defendants assert for the first time
that a bond must accompany any preliminary injunction that issues. See JV Defs. Post-Hearing Br. at 10.
They ask for “$100 million” to account for the JV Defendants’ “expected affiliate fees from [the JV] over
the first four months[.]” Id. The JV Defendants offer no legitimate analysis in support of that figure,
citing only to PX414,



                                                                               . See PX414 at 16. In the
face of such a conclusory and undeveloped record, and without the opportunity for Fubo to respond, the
Court need not issue a bond. See Int'l Controls Corp. v. Vesco, 490 F.2d 1334, 1356 (2d Cir. 1974) (“In
construing this language [in Rule 65], we have stated that, especially in view of the phrase—‘as the court
deems proper’— the district court may dispense with security where there has been no proof of likelihood
of harm to the party enjoined.”).
                                                    65
because Fubo has established a likelihood of success on the merits of its Section 7 Clayton Act

claims, and that the launch of the JV will likely cause the exit of a current market option for

consumers, the public interest is served by an injunction preserving the status quo pending full

adjudication of these matters. See Columbia Pictures Indus., Inc., 507 F. Supp. at 434 (“Far

more important than the interests of either the defendants or the existing industry. . . is the

public’s interest in enforcement of the antitrust laws and in the preservation of competition.”).

                                           CONCLUSION

        Though the Court has reached its own conclusions on the record before it with respect to

every element necessary for this preliminary injunction to issue, it is worth noting that the

Court’s concerns about the anti-competitive effects of the JV appear to be widely shared both by

Fubo’s competitors in the private sector (such as DISH,43 DIRECTV,44 and others45), and by a




        43
            See Dkt. No. 111 (Declaration of Gary Schanman, Echostar EVP and Group President of Video
Services) ¶¶ 6–18; see also Hearing Tr. 442:25–444:1; 447:9–450:5 (Schanman Direct).
         44
            See Dkt. No. 112 (Declaration of Robert Thun, DIRECTV Chief Content Officer) ¶¶ 5, 6
(“DIRECTV has grave concerns about the effect that the sports content joint venture between the
defendants in this case will have on competition for the distribution of sports programming. More
specifically, the joint venture partners are offering content in a manner that they do not allow DIRECTV
or other distributors to offer to consumers. Rather, the joint venture partners require that DIRECTV
offers a large bundle of channels and do not allow DIRECTV to offer a smaller sports-focused bundle of
channels. Should Raptor be permitted to launch while the joint venture partners continue to restrict
DIRECTV (or other distributors) from offering a similar consumer offering, consumers will be deprived
of meaningful competition from DIRECTV and others.”); Second Thun Declaration ¶¶ 8, 9 (“




                                                                                                    ”).
        45
             See PX216 (

                                           )
                                                  66
range of voices in the public arena, including non-profit consumer advocacy organizations,46

members of Congress,47 and the U.S. Department of Justice.48 In contrast, the Court is aware of

no third party extolling the allegedly pro-competitive benefits of the JV, nor publicly supporting

its launch, save Mr. Petitti, Commissioner of the Big Ten Conference. Mr. Petitti, who testified

on behalf of the JV Defendants, see Hearing Tr. 785:5–794:11; Dkt. Nos. 234-153, 236-135,

admitted a lack of familiarity with any of the claims at issue in this matter, see Hearing Tr.

791:10–21. Moreover, Mr. Petitti’s network partner, the Big Ten Network, is majority-owned by

Fox and will be offered on the JV. See Hearing Tr. 793:25–794:2. And crucially, the gravamen

of Mr. Petitti’s testimony was that the Big Ten cares predominantly about increasing viewership

of its content, regardless of the source of those viewers, and his support for the JV was premised

on the assumption that it might be another place for sports fans to find Big Ten sporting events.

See Hearing Tr. 793:3–11. Nothing in that testimony suggests that the JV will be pro-

competitive.

        Ultimately, then, even Mr. Petitti’s testimony reinforces the issues at stake in this matter.

All parties are aligned in the observation that the maximum potential viewers of live sports are

not currently being adequately captured by the existing array of services in the live pay TV

industry. All parties also agree that more efficiently serving this segment of the market, with


        46
            See generally Amici Br., Dkt. No. 253-1.
        47
            See Andrew Marchand, “Dept. of Justice being asked to investigate Disney, Fox, Warner Bros
joint venture,” The Athletic (Aug. 7, 2024), available at https://www.nytimes.com/athletic/
5685739/2024/08/07/ dept-of-justice-disney-fox-warner-bros-tnt/ (last accessed Aug. 15, 2024) (“Sens.
Elizabeth Warren and Bernie Sanders and Rep. Joaquin Castro have sent a letter to the Department of
Justice asking it to investigate and potentially prevent Disney, Fox and Warner Bros’ from starting a joint
venture that will combine the resources of ESPN, Fox Sports and TNT Sports in a direct-to-consumer
streaming service called Venu Sports.”); see also Dkt. No. 248-25 (July 30, 2024 letter from Nancy Pelosi
to Jonathan Kanter).
         48
            See “US to scrutinize Disney, Fox, Warner sports streaming deal, Bloomberg Law reports,”
REUTERS (Feb. 16, 2024), available at https://www.reuters.com/business/media-telecom/doj-scrutinize-
disney-fox-warner-bros-sports-streaming-deal-bloomberg-law-2024-02-15/ (last accessed August 15,
2024).
                                                    67
content central in its own way to American culture and the American consumer, would be a boon

to the economy and a benefit to consumers.

       The fundamental disagreement, therefore, lies in exactly who should be able to capture

this market, and by what means they should be permitted to do so. Because the parties should be

able to litigate this crucial issue on a full and fair record, and because doing so requires the

preservation of the status quo, the Court, having considered and weighed all competing interests

before it, finds that “[a]ny doubt concerning the necessity of the safeguarding of the public

interest should be resolved by the granting of a preliminary injunction,” Columbia Pictures

Indus., Inc., 507 F. Supp. at 434, the Motion is HEREBY GRANTED.

                         ORDER FOR PRELIMINARY INJUNCTION

       This cause having come on to be heard upon Fubo’s complaint, Fubo’s Motion for a

Preliminary Injunction and its memoranda of law, authorities, declarations, and exhibits offered

in support thereof, the responses thereto by the JV Defendants, and an evidentiary hearing having

been conducted, it appears to the Court that Fubo is likely to succeed on its claims that by

entering into the JV, the JV Defendants will substantially lessen competition and restrain trade in

the relevant market in violation of Section 7 of the Clayton Act, 15 U.S.C. § 18. It also appears

that a balance of equities tips decidedly in favor of Plaintiffs and the public interest would be

served by the entering of a preliminary injunction. It further appears that the absence of

preliminary injunctive relief may severely limit or frustrate the effectiveness of any order or

decree which the Court may render after trial. Consequently, the Court has authority under

Section 16 of the Clayton Act, 15 U.S.C. § 26, and Rule 65 of the Federal Rules of Civil

Procedure to issue such preliminary relief as may be deemed just.




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       It is therefore HEREBY ORDERED, ADJUDGED, AND DECREED that the JV

Defendants and their officers, directors, employees, agents, and all other persons acting on their

behalf are hereby ENJOINED and RESTRAINED from launching the JV pending final

adjudication of the merits of this case or further order of the Court.


Dated: August 16, 2024
       New York, New York

                                                           SO ORDERED.


                                                              MARGARET M. GARNETT
                                                              United States District Judge




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